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                      IN THE UNITED STATE DISTRICT COURT
                             DISTRICT OF COLORADO


  Civil Action No. 1:16-cv-01301-PAB-GPG

  RCHFU, LLC, a Colorado limited liability company,
  JEFFREY A. BAYER,
  GAIL L. BAYER,
  ROBERT BUZZETTI,
  JULIE C. CANNER,
  LEE JAMES CHIMERAKIS,
  THERESA ANN CHIMERAKIS,
  KEVIN THOMAS CLARE,
  NANCY LYNNE SHUTE,
  TOBY L. CONE TRUST,
  TOBY L. CONE, Trustee of the Toby L. Cone Trust,
  RICHARD DAVIS,
  SHIRLEY J. DAVIS,
  CARL EICHSTAEDT III,
  JAMES RICHARD FARQUHAR,
  JENNIFER LUCILLE FARQUHAR,
  KOPPELMAN FAMILY TRUST,
  LARRY KOPPELMAN, Trustee of the Koppelman Family Trust
  DAVID LANCASHIRE,
  STEPHEN ANDREWS,
  BONNIE LIKOVER,
  CRAIG LIPTON,
  JEREMY LOWELL, D.D.S.,
  LORI LOWELL,
  EDWARD P. MEYERSON,
  ANDREA C. MEYERSON,
  JERRY M. NOWELL TRUST,
  JERRY M. NOWELL, Trustee of the Jerry M. Nowell Trust,
  DEE ANN DAVIS NOWELL TRUST,
  DEE ANN DAVIS NOWELL, Trustee of the Dee Ann Davis Nowell Trust,
  THOMAS M. PROSE REVOCABLE LIVING TRUST,
  THOMAS M. PROSE, M.D., Trustee of the Thomas M. Prose Revocable Living Trust,
  CASEY M. ROGERS,
  COURTNEY S. ROGERS,
  ROBERT A. SKLAR TRUST,
  ROBERT A. SKLAR, Trustee of the Robert A. Sklar Trust,
  C. RICHARD STASNEY, M.D.,
  SUSAN P. STASNEY,
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  STEPHEN WEINSTEIN,
  BRENDA WEINSTEIN,
  JACK ZEMER,
  JEFFREY L. BERNSTEIN,
  AMY S. BERNSTEIN,
  CHRISTOPHER BRANOFF,
  KIMBERLEY BRANOFF,
  RICHARD LOUISE LEVENGOOD,
  LYNDA OVERLY LEVENGOOD,
  FRED H. FRIEDMAN,
  BRENDA C. FRIEDMAN,
  BENJE R. DANIEL, JR., DDS, MS, PA,
  R. DAVID & CHERYL M. JONES REVOCABLE LIVING TRUST,
  R. DAVID JONES, Trustee of the R. David & Cheryl M. Jones Revocable Living Trust,
  CHERYL M. JONES, Trustee of the R. David & Cheryl M. Jones Revocable Living Trust,
  LILY ANN FRIEDMAN,
  831 701 ONTARIO LIMITED, a Canadian Corporation,
  GARRY R. KIMBALL,
  CATHERINE G.C. KIMBALL,
  DAVID FRIEDMAN,
  MICHAEL G. ROBINSON,
  CAROLINE ROBINSON,
  HAMMER FAMILY LIMITED PARTNERSHIP,
  ROBERT HAMMER, Partner of Hammer Family Limited Partnership,
  RENEE HAMMER, Partner of Hammer Family Limited Partnership,
  BARRY HAMMER, Partner of Hammer Family Limited Partnership,
  JEFFREY HAMMER, Partner of Hammer Family Limited Partnership,
  8202 RCC ASPEN HIGHLANDS, LLC, a Texas limited liability company,
  CARL ANDREW RUDELLA,
  TAMMIEJO RUDELLA,
  ROBERT KAUFMANN,
  DAVID S. ISRAEL TRUST,
  DAVID S. ISRAEL, Trustee of the David S. Israel Trust,
  J & B WOODS FAMILY ASSOCIATES, LLC,
  MICHAEL P. PACIN,
  AMY D. RONNER,
  BRUCE E. REID,
  ROSEMARY W. REID,
  CHARLES F.A. MCCLUER, III, P.A., a Texas corporation,
  FRANK R. VOGL,
  EMILY VOGL,
  LEVY VENTURES LIMITED PARTNERSHIP, a Florida partnership,
  DRE, INC., an Illinois corporation,
  ROBERT C. HUBBELL,

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  JAN H. HUBBELL,
  DAVID SCHAECTER,
  VLADIMIR MALAKHOVA,
  LUDMILA MALAKHOVA,
  EL PASO MANAGEMENT, LLC, an Alaska limited liability company,
  PEPKOWTIZ TRUST,
  SAMUEL H. PEPKOWITZ, Trustee of the Pepkowitz Trust,
  ROBERTA A. PEPKOWITZ, Trustee of the Pepkowitz Trust,
  JH CAPITAL CORPORATION, a Florida corporation,
  DAVID S. BLACHER,
  CONSTANCE H. BLACHER,
  BRYAN J. HAWKINS,
  LAURA A. HAWKINS,
  BRUCE M. NESBITT REVOCABLE TRUST,
  BRUCE M. NESBITT, Trustee of the Bruce M. Nesbitt Revocable Trust,
  LE BEFANA TRUST,
  MONICA M. CAMPANELLA, Trustee of the Le Befana Trust,
  REETA G. CASEY REVOCABLE LIVING TRUST,
  REETA G. CASEY, Trustee of the Reeta G. Casey Revocable Living Trust,
  ANTHONY F. PRINSTER,
  SALLY L. PRINSTER,
  KEVIN E. GRANT,
  GILBERT P. GRADINGER,
  SALLY A. GRADINGER,
  JEFFREY RAPPIN,
  PENNY BROWN,
  MILAN RANDIC TRUST,
  MILAN RANDIC, Trustee of the Milan Randic Trust,
  MIRIJANA RANDIC TRUST,
  MIRIJANA RANDIC, Trustee of the Mirjana Randic Trust,
  CHARLES B. BUCHANAN
  CHARLOTTE S. BUCHANAN,
  ANNETTE KALCHEIM TRUST,
  ANNETTE KALCHEIM, Trustee of the Annette Kalcheim Trust,
  MINDY R. WEXLER REVOCABLE TRUST,
  MINDY R. WEXLER, Trustee of the Mindy R. Wexler Revocable Trust,
  JOHN BERGSTROM,
  NORMAN C. CREECH,
  SUSAN S. CREECH,
  JOHN E. BLANCHARD,
  JENNIFER BLANCHARD,
  ROBERT BLANCHARD,
  ELLEN BLANCHARD,
  LOUISE B. HOVERSTEN,

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  HOWARD A. SIMON,
  ELIZABETH M. SIMON,
  GARY S. CHAVIN,
  PAT A. CHAVIN,
  GREG JACOBSON,
  DOUGLAS KADISON,
  CAROL KADISON,
  JOSEPH FRYZER,
  DANNY V. LACKEY LIVING TRUST,
  DANNY V. LACKEY, Trustee of the Danny V. Lackey Living Trust,
  NANCY L. LACKEY LIVING TRUST,
  NANCY L. LACKEY, Trustee of the Nancy L. Lackey Living Trust,
  H.M. PALM,
  MARGARET PALM,
  PAUL C. ROSENTHAL,
  CARLA P. ROSENTHAL,
  THE DAVID & LESA FIGLIULO FAMILY REVOCABLE LIVING TRUST,
  DAVID A. FIGLIULO, Trustee of the David & Lesa Figliulo Family Revocable Living Trust,
  LESA A. FIGLIULO, Trustee of the David & Lesa Figliulo Family Revocable Living Trust,
  WALTER H. PETRIE,
  NANCY A. PETRIE,
  KENNETH TOMPKINS,
  KIMBERLY TOMPKINS,
  BARBARA L. PALAZZOLO REVOCABLE TRUST,
  BARBARA L. PALAZZOLO, Trustee of the Barbara L. Palazzolo Revocable Trust,
  DANA JAMES WEINKLE,
  SUSAN HOLLOWAY WEINKLE,
  AMI RABINOWITZ TRUST,
  AMI RABINOWITZ, Trustee of the Ami Rabinowitz Trust,
  EVAN RABINOWITZ, Trustee of the Ami Rabinowitz Trust,
  KONA, LTD., a Texas limited partnership,
  STEVE V. GURLAND,
  CAROLINE I. GURLAND,
  SPENCER L. YOUNGBLOOD FAMILY PARTNERSHIP LTD, a Texas limited partnership
  KENNETH D. CUSHMAN,
  CAROL A. CUSHMAN,
  DAN MOSKOWITZ,
  WENDY MOSKOWITZ,
  GARY SHELDON KOHLER,
  DEBORAH JOY KOHLER,
  LEWIS J. HIRSCH,
  GAYLE HIRSCH,
  BRADLY PROPERTIES, LLC, an Alabama limited liability company,
  ANNA P. ZALK,

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  MOUNTAIN DRIVE TRUST,
  DAVID JACKEL, Trustee of the Mountain Drive Trust,
  WILLIAM M. WAXMAN,
  ALAN S. WAXMAN,
  HYLAND REVOCABLE LIVING TRUST,
  TIMOTHY J. HYLAND, Trustee of the Hyland Revocable Living Trust,
  NATALIE B. HYLAND, Trustee of the Hyland Revocable Living Trust,
  NEIL SPIZIZEN TRUST,
  NEIL SPIZIZEN, Trustee of the Neil Spizizen Trust,
  D.L. WILKEY,
  JULIE JANICEK-WILKEY,
  CASS FRANKLIN,
  VERA STEWART FRANKLIN,
  DARYL CRAMER,
  HEATHER CRAMER,
  HOPE S. BARKAN,
  JACOB LOUIS SLEVIN,
  RONALD LAWRENCE GLAZER TRUST,
  RONALD LAWRENCE GLAZER, Trustee of the Ronald Lawrence Glazer Trust,
  CHRISTIANE NICOLINI GLAZER TRUST,
  CHRISTIANE NICOLINI GLAZER, Trustee of the Christiane Nicolini Glazer Trust,
  ERICH TENGELSEN,
  CHARLES A. GOTTLOB,
  CYNTHIA G. GOTTLOB,
  LUCY D. ANDA,
  NEIL G. ARNOVITZ,
  PETER CHARLES CROWLEY TRUST,
  MELISSA T. CROWLEY, Trustee of the Peter Charles Crowley Trust,
  PATRICK A. LATTORE,
  DEE P. LATTORE,
  ROCKY J. MOUNTAIN,
  JANET M. MOUNTAIN,
  PHYLLIS SCHOFIELD,
  WILLIAM F. SCHOFIELD, JR.,
  MARK L. HORWITZ,
  SUSAN J. HORWITZ,
  JOEL SACHER,
  SUSAN J. SACHER,
  C & N ASSETS, LTD., a Texas limited partnership,
  LISA MOTTOLA TRUST,
  LISA MOTTOLA, Trustee of the Lisa Mottola Trust,
  MEL A. BARKAN,
  JOHN PATRICK MCEVOY,
  MARIA GOMEZ MCEVOY,

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  GREICO FAMILY LIMITED PARTNERSHIP, a Texas limited partnership,
  CLAIR F. WHITE
  LINDA GAGE-WHITE
  JAWSFW, LLC, a Georgia limited liability company,
  JOHN EGLE,
  DARRYL ROSEN,
  MICHAEL A. CAPASSO,
  JEFFREY C. BERMANT,
  ROCK PILE, LLC, a Minnesota limited liability company,

  Plaintiffs,

  v.

  MARRIOTT VACATIONS WORLDWIDE CORPORATION, a Delaware corporation,
  MARRIOTT OWNERSHIP RESORTS, INC., d/b/a MARRIOTT VACATION CLUB
  INTERNATIONAL, a Delaware corporation,
  ASPEN HIGHLANDS CONDOMINIUM ASSOCIATION, a Colorado non-profit
  corporation,
  RITZ-CARLTON MANAGEMENT COMPANY, LLC, a Delaware limited liability
  company,
  COBALT TRAVEL COMPANY, LLC, INC., a Delaware limited liability company, and
  THE LION & CROWN TRAVEL CO., LLC, a Delaware limited liability company,

  Defendants.
  ______________________________________________________________________________

               FOURTH AMENDED COMPLAINT AND JURY DEMAND
  ______________________________________________________________________________

          Plaintiffs, as listed in the caption and in paragraphs 13 infra, by and through their

  undersigned counsel, for their Complaint and Jury Demand, state and allege as follows:

                            I.     INTRODUCTION AND BACKGROUND

          1.     This lawsuit concerns Defendants’ unlawful acts that decimated the value of

  deeded 1/12 fractional interests that Plaintiffs and other owners (“Ritz-Carlton Aspen Owners”)

  purchased in the Ritz-Carlton Club Aspen Highlands, located in Aspen, Colorado. Over the last

  several years, Defendants, including Defendant Marriott Vacations Worldwide Corporation


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  (“MVW”) and its subsidiaries and affiliates, have knowingly damaged Plaintiffs and unjustly

  enriched themselves by violating (or aiding and abetting in, or conspiring to violate) various

  fiduciary duties owed by certain Defendants to Ritz-Carlton Aspen Owners. These violations

  undercut the essential features of the fractional interests sold to Plaintiffs and Ritz Carlton Aspen

  Owners.

          2.       In the 1980s, Marriott International, Inc. established Defendant Marriott

  Ownership Resorts Inc., d.b.a. Marriott Vacation Club International (“MVCI”), to run Marriott’s

  timeshare operations.         MVCI originally sold timeshares in one-week intervals. In 1984,

  Marriott’s Monarch on Hilton Head Island became the first MVCI resort. By 2009, MCVI had

  grown to over 400,000 timeshare owners who had purchased one-week interval timeshares.

          3.       In 1999, MVCI introduced “The Ritz-Carlton Club” (also known as “The Ritz-

  Carlton Destination Club”) as a luxury alternative to its “Marriott Vacation Club” timeshare

  product, which it describes as its “upscale” product line. The Ritz-Carlton Club sold deeded 1/12

  fractional ownership interests.          The luxury nature, longer use intervals 1, and exclusivity

  distinguished the Ritz-Carlton Club fractional interests from MVCI’s “Marriott Vacation Club”

  product line. Based on these distinctions and attributes, The Ritz- Carlton Club interests were

  substantially more expensive.

          4.       In 2001, the Ritz-Carlton Club, Aspen Highlands was established as the first

  fractional ownership property for The Ritz-Carlton Club brand. Thereafter, between 2001 and

  2012, Defendants developed and sold approximately 3,200 of the deeded 1/12 luxury fractional

  1
     The Ritz-Carlton Club 1/12 fractionals sold at Ritz-Carlton, Aspen Highlands entitled purchasers to 4 weeks of
  use per year. The other Ritz-Carlton Clubs sold 1/12 fractionals entitling three weeks of use, with the remaining 16
  weeks used by members on a “space available” basis. Use of the “space available” weeks was given to members
  pursuant to the rules established in the Ritz-Carlton Membership Program.

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  interests under The Ritz Carlton Club brand at the following nine locations: Aspen Highlands,

  Colorado; Bachelor Gulch, Colorado; Jupiter, Florida; North Lake Tahoe, California; St.

  Thomas, U.S.V.I.; San Francisco, California; Vail, Colorado; Abaco, Bahamas; and Maui,

  Hawaii.

         5.      In 2010 MCVI began converting legacy “week owners” of Marriott Vacation

  Club timeshares to a “points-based product” wherein purchasers bought interests in a land trust

  (“MVC Trust”) set up by MVCI to own its resorts. By the end of 2011, many of the Marriott

  Vacation Club’s over 400,000 owners at over 50 Marriott Vacation Club resorts worldwide were

  utilizing points purchased from MVCI to trade for use of Marriott Vacation Club resorts.

  Further, by the end of 2011, Marriott Vacation Club points were available for sale on the

  secondary market for a fraction of the cost at which MVCI sold them “new.” In addition,

  Marriott Vacation Club Points were available to “rent” from other members, enabling them to

  upgrade to stays at more desirable resorts than their “home resorts.”

         6.       Between 2001 and 2013, hundreds of Ritz- Carlton Aspen Owners, including

  Plaintiffs, paid premium prices, averaging over $200,000, with some selling for over and up to

  $500,000, for their deeded 1/12 fractional interest at the Ritz- Carlton Club in Aspen Highlands,

  (known as “Tourist Accommodation Units” or “Fractional Units”). These Fractional Units were

  sold based on Defendants’ claims that the Fractional Units were superior to MVCI’s other

  timeshare offerings in that the Ritz- Carlton Club Aspen Highlands would be exclusive and

  operate for the use, benefit and enjoyment of Ritz- Carlton Club Members as well as their family

  and guests “like a second home,” supporting the expensive purchase prices for the Fractional




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  Units as compared to other MVCI timeshare offerings. Defendants further stated that the

  Fractional Units were transferrable like any other form of deeded real estate.

         7.      In November 2011, Marriott International, Inc. “spun-off” Defendant MVW as a

  separately traded public company (NYSE: VAC), and MVW became the exclusive developer

  and manager of vacation ownership and related products under the Marriott brand and the

  exclusive developer of vacation ownership and related products under the Ritz-Carlton brand.

         8.      In its first Annual Report filed following the spin-off (dated March 21, 2012),

  MVW revealed its intent to abandon the upscale Ritz-Carlton product line, stating: “we have

  significantly scaled back our development of Luxury segment vacation ownership products. We

  do not have any Luxury segment projects under construction nor do we have any current plans

  for new luxury development. While we will continue to sell existing Luxury segment vacation

  ownership products, we also expect to evaluate opportunities for bulk sales of finished inventory

  and disposition of undeveloped land.”

         9.      Beginning in 2013 and continuing through the 2014, Defendants MVW, Ritz-

  Carlton Management Company, LLC (“RC Management”), The Cobalt Travel Company, LLC

  (“Cobalt”) and the other Defendants used their complete control over Defendant Aspen

  Highlands Condominium Association, Inc., (“Association”) as well as their control over the use

  and operation of Plaintiffs’ Fractional Units, to eliminate the very features for which Plaintiffs

  and Ritz Carlton Aspen Owners paid premium prices, thereby destroying the value of the

  Fractional Units sold to Plaintiffs and Ritz Carlton Aspen Owners. By these actions, and in

  breach of their fiduciary duties owed as a result of the control maintained over Plaintiffs’

  Fractional Units and the fact that Defendants were agents or sub-agents of Plaintiffs and Ritz-


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   Carlton Aspen Owners, Defendants profited at Plaintiffs and the Ritz- Carlton Aspen Owners’

   expense. Even though Defendants’ actions destroyed the value of the Fractional Units, Plaintiffs

   and Ritz- Carlton Aspen Owners continue to pay steadily increasing annual dues, compounding

   the harm. A large percentage of these dues go directly to Defendants in the form of lucrative

   “management fees” and other “reimbursements” supposedly incurred by Defendants under the

   management contracts, including payroll related costs.          These management fees and

   reimbursements are paid solely by Fractional Unit owners at the Ritz- Carlton Club Aspen

   Highlands to the Defendants regardless of usage or occupancy.

          10.     Due to Defendants’ conduct described herein and other actions to be discovered

   and proven, the Fractional Units owned by Plaintiffs and Ritz- Carlton Aspen Owners are now

   worth less than 20% of the original purchase prices, while, on the other hand, Defendants —,

   including MVW,; MVCI,; RC Management,; Cobalt,; and The Lion & Crown Travel Co., LLC

   (“L&C”) — have been unjustly enriched. Due to defendants’ actions, MVC members can now

   enjoy the benefits and use of the Ritz-Carlton Club Aspen Highlands property for a fraction of

   the cost that Plaintiffs and Ritz- Carlton Aspen Owners paid. For example, a MVC member can

   buy (or simply rent) MVC points sufficient to stay at the Ritz Carlton Club Aspen Highlands for

   approximately twenty percent of what it costs Ritz Carlton Aspen Owners, who paid $200-400k

   for substantially similar rights and benefits.

                                    II.     JURISDICTION AND VENUE

          11.     This action was filed in the District Court of Colorado, Pitkin County which had

   jurisdiction over the subject matter at issue because this is a civil action for damages and/or

   equitable relief. Colo. Const. Art. VI, § 9(1). Defendants MVW, MVCI, RC Management,


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   Cobalt, and The Lion & Crown Travel Co., LLC removed the action pursuant to the Class Action

   Fairness Act of 2005, 28 U.S.C. §§ 1332, 1446 and 1453.

          12.     Venue is proper as the case was removed from the District Court of Pitkin

   County, Colorado and the District Court of Pitkin County, Colorado is in the District of

   Colorado. 28 U.S.C. § 28. The case was thus properly removed to this Court. 28 U.S.C. §§

   1441(a).

                                            III.   PARTIES

          A.      Plaintiffs

          13.     The following are Plaintiffs:

          a)      Plaintiff RCHFU, LLC is organized under the laws of Colorado. Its only

   members, Jennifer Kaplan and Alexander H. Busansky, are citizens of California. Pursuant to a

   uniform Purchase Contract Ms. Kaplan and Mr. Busansky signed in 2003, they paid $218,500 to

   the seller Ritz Carlton Development Company and obtained title to Residence Interest No. 12

   consisting of an undivided 1/12 interest in Residence No. 8314 of Aspen Highlands

   Condominiums, according to the Declaration of Condominium for Aspen Highlands

   Condominiums, recorded January 11, 2001, Reception No. 450454 (referred to herein as “Aspen

   Highlands Condominiums” or “Ritz Aspen Highlands”).Pursuant to an Assignment of Claims,

   Ms. Kaplan and Mr. Busansky transferred all of their claims and all interests in claims arising out

   of ownership or under the Purchase Contract or otherwise and pertaining to the undivided 1/12

   interest in Residence Unit No. 8314 at the Ritz Aspen Highlands to RCHFU, LLC.

          b)      Plaintiffs Jeffrey A. Bayer and Gail L. Bayer (collectively, the “Bayer

   Plaintiffs”) are citizens of the State of Alabama. Pursuant to a uniform Purchase Contract signed


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   in 2001, the Bayer Plaintiffs paid $180,000.00 to the seller Ritz Carlton Development Company,

   and obtained title to Residence Interest No. 9 consisting of an undivided 1/12 interest in

   Residence No. 8308 of the Aspen Highlands Condominiums.

          c)      Plaintiff Robert Buzzetti is a citizen of the State of Florida. Pursuant to a

   uniform Purchase Contract signed in 2002, Mr. Buzzetti paid $320,000.00 to the seller Ritz

   Carlton Development Company, and obtained title to Residence Interest No. 4 consisting of an

   undivided 1/12 interest in Residence No. 8203 of the Aspen Highlands Condominiums.

          d)      Plaintiff Julie C. Canner is a citizen of the State of Michigan. Pursuant to a

   uniform Purchase Contract signed in 2001, Ms. Canner paid $170,000.00 to the seller Ritz

   Carlton Development Company, and obtained title to Residence Interest No. 13 consisting of an

   undivided 1/12 interest in Residence No. 8402 of the Aspen Highlands Condominiums.

          e)      Plaintiffs Lee James Chimerakis and Theresa Ann Chimerakis (collectively,

   the “Chimerakis Plaintiffs”) are citizens of the State of Florida. In 2008, the Chimerakis

   Plaintiffs paid $310,000.00 to the seller Sharon A. Held and Ian C. Hague, and obtained title to

   Residence Interest No. 5 consisting of an undivided 1/12 interest in Residence No. 2405 of the

   Aspen Highlands Condominiums.

          f)      Plaintiffs Kevin Thomas Clare and Nancy Lynne Shute (collectively, the “Clare

   Plaintiffs”) are citizens of the State of California. In 2005, the Clare Plaintiffs paid $266,000.00

   to the seller Ritz Carlton Development Company, and obtained title to Residence Interest No. 5

   consisting of an undivided 1/12 interest in Residence No. 2206 of the Aspen Highlands

   Condominiums.




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          g)      Plaintiffs Toby L. Cone Trustee is a citizen of the State of Connecticut and

   Trustee of the Toby L. Cone Trust (collectively, the “Cone Plaintiffs”). Pursuant to a uniform

   Purchase Contract signed in 2003, the Cone Plaintiffs paid $220,000.00 to the seller Ritz Carlton

   Development Company, and obtained title to Residence Interest No. 10 consisting of an

   undivided 1/12 interest in Residence No. 8406 of the Aspen Highlands Condominiums.

          h)      Plaintiffs Richard Davis and Shirley J. Davis (collectively, the “Davis

   Plaintiffs”) are citizens of the State of Texas. Pursuant to a uniform Purchase Contract signed in

   2002, the Davis Plaintiffs paid $290,000.00 to the seller Ritz Carlton Development Company,

   and obtained title to Residence Unit No. 10 consisting of an undivided 1/12 interest in Residence

   No. 8105 of the Aspen Highlands Condominiums.

          i)      Plaintiff Carl Eichstaedt, III is a citizen of the State of California Pursuant to a

   uniform Purchase Contract signed in 2004, the Eichstaedt Plaintiff paid $238,000.00 to the seller

   Ritz Carlton Development Company, and obtained title to Residence Unit No. 7 consisting of an

   undivided 1/12 interest in Residence No. 2204 of the Aspen Highlands Condominiums.

          j)      Plaintiffs James Richard Farquhar and Jennifer Lucille Farquhar are citizens

   of Australia. Pursuant to a uniform Purchase Contract signed in 2008, the Farquhar Plaintiffs

   paid $210,000.00 to the seller Ritz Carlton Development Company, and obtained title to

   Residence Unit No. 5 consisting of an undivided 1/12 interest in Residence No. 2302 of the

   Aspen Highlands Condominiums.

          k)      Plaintiff Larry Koppelman is a citizen of the State of California and Trustee of

   the Koppelman Family Trust (collectively, the “Koppelman Plaintiffs”). Pursuant to a uniform

   Purchase Contract signed in 2001, the Koppelman Plaintiffs paid $310,000.00 to the seller Ritz


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   Carlton Development Company and obtained title to Residence Unit No. 6 consisting of an

   undivided 1/12 interest in Residence No. 8205 of the Aspen Highlands Condominiums.

          l)     Additionally, pursuant to a uniform Purchase Contract signed in 2001, the

   Koppelman Plaintiffs paid $171,000.00 to the seller Ritz Carlton Development Company and

   obtained title to Residence Unit No. 1 consisting of an undivided 1/12 interest in Residence No.

   8404 of the Aspen Highlands Condominiums.

          m)     Additionally, pursuant to a uniform Purchase Contract signed in 2002, the

   Koppelman Plaintiffs paid $295,000.00 to the seller Ritz Carlton Development Company and

   obtained title to Residence Unit No. 2 consisting of an undivided 1/12 interest in Residence No.

   8305 of the Aspen Highlands Condominiums.

          n)     Plaintiffs   David    Lancashire     and    Stephen     Andrews      (collectively,

   “Lancashire/Andrews”) are citizens of the State of Texas. Pursuant to a uniform Purchase

   Contract signed in 2003, Lancashire/Andrews paid $200,000 to the seller Ritz Carlton

   Development Company and obtained title to Residence Unit No. 6 consisting of an undivided

   1/12 interest in Residence No. 8403 of the Aspen Highlands Condominiums.

          o)     Plaintiff David Lancashire is a citizen of the State of Texas. Pursuant to a

   uniform Purchase Contract signed in 2008, Mr. Lancashire paid $230,000 to the seller Ritz

   Carlton Development Company and obtained title to Residence Unit No. 4 consisting of an

   undivided 1/12 interest in Residence No. 8105 of the Aspen Highlands Condominiums.

          p)     Plaintiff Bonnie Likover is a citizen of the State of Texas. In 2008, Ms. Likover

   paid $173,500.00 to the seller Jonathan E. Kagan and obtained title to Residence Interest No. 12




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   consisting of an undivided 1/12 interest in Residence No. 8202 of the Aspen Highlands

   Condominiums.

          q)      Plaintiff Craig Lipton is a citizen of the State of California. In 2007, Mr. Lipton

   paid $180,000.00 to the seller Linda Rozynes, and obtained title to Residence Interest No. 7

   consisting of an undivided 1/12 interest in Residence No. 8311 of the Aspen Highlands

   Condominiums.

          r)      Plaintiffs Jeremy Lowell, D.D.S. and Lori Lowell (collectively, the “Lowell

   Plaintiffs”) are citizens of the State of Colorado. Pursuant to a uniform Purchase Contract signed

   in 2005, the Lowell Plaintiffs paid $250,000.00 to the seller Ritz Carlton Development

   Company, and obtained title to Residence Interest No. 9 consisting of an undivided 1/12 interest

   in Residence No. 2204 of the Aspen Highlands Condominiums.

          s)      Plaintiffs Edward P. Meyerson and Andrea C. Meyerson (collectively, the

   “Meyerson Plaintiffs”) are citizens of the State of Alabama. In 2004, the Meyerson Plaintiffs

   paid $234,000.00 to the seller Jordan Grabel and Victoria Grabel, and obtained title to Residence

   Interest No. 12 consisting of an undivided 1/12 interest in Residence No. 8302 of the Aspen

   Highlands Condominiums.

          t)      Plaintiffs Jerry M. Nowell and Dee Ann Davis Nowell are citizens of the State

   of Arizona and as Trustees of the Jerry M. Nowell Trust and the Dee Ann Davis Nowell Trust,

   respectively (collectively, the “Nowell Plaintiffs”). Pursuant to a uniform Purchase Contract

   signed in 2004, the Nowell Plaintiffs paid $210,000.00 to the seller Ritz Carlton Development

   Company, and obtained title to Residence Interest No. 10 consisting of an undivided 1/12 interest

   in Residence No. 8106 of the Aspen Highlands Condominiums.


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          u)      Plaintiff Thomas M. Prose, M.D. is a citizen of the State of Michigan and

   Trustee of the Thomas M. Prose Revocable Living Trust, (collectively, the “Prose Plaintiffs”).

   Pursuant to a uniform Purchase Contract signed in 2008, the Prose Plaintiffs paid $369,000.00 to

   the seller Ritz Carlton Development Company, and obtained title to two undivided 1/12 interests

   in Residence No. 2401 of the Aspen Highlands Condominiums. The interests are described in

   weeks. Additionally, pursuant to a uniform Purchase Contract signed in 2009, the Prose

   Plaintiffs paid $120,650.00 to the seller Ritz Carlton Development Company, and obtained title

   to an undivided 1/12 interest in Residence No. 2304 of the Aspen Highlands Condominiums. The

   interest is described in weeks.

          v)      Plaintiffs Case M. Rogers and Courtney S. Rogers are citizens of the State of

   North Carolina. Pursuant to a uniform Purchase Contract signed in 2003, the Rogers Plaintiffs

   paid $220,000.00 to the seller Ritz Carlton Development Company, and obtained title to

   Residence Interest No. 4 consisting of an undivided 1/12 interest in Residence No. 8106 of the

   Aspen Highlands Condominiums.

          w)      Plaintiff Robert A. Sklar is a citizen of the State of Michigan and Trustee of the

   Robert A. Sklar Trust (collectively, the “Sklar Plaintiffs”). In 2012, Mr. Sklar paid $80,000.00

   to the seller Gregory R. Nelson and Barbara L. Nelson, Trustees of the Nelson Revocable

   Declaration Of Trust, and obtained title to Residence Interest No. 10 consisting of an undivided

   1/12 interest in Residence No. 8204 of the Aspen Highlands Condominiums.

          x)      Plaintiffs C. Richard Stasney and Susan P. Stasney (collectively, the “Stasney

   Plaintiffs”) are citizens of the State of Texas. Pursuant to a uniform Purchase Contract signed in

   2001, the Stasney Plaintiffs paid $300,000.00 to the seller Ritz Carlton Development Company


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   and obtained title to Residence Interest No. 11 consisting of an undivided 1/12 interest in

   Residence No. 8205 of Aspen Highlands Condominiums.

          y)      In 2011, C. Richard Stasney paid $261,000.00 to the sellers Benvenuto

   Residential Revocable Trust, as to an undivided 50% interest and DRE, Inc., as to an undivided

   50% interest and obtained title to an undivided 1/12 interest in Residence No. 2305 of the Aspen

   Highlands Condominiums. The interest is described in weeks.

          z)      Plaintiffs Stephen Weinstein and Brenda Weinstein (collectively, the

   “Weinstein Plaintiffs”) are citizens of the State of Florida. In 2005, the Weinstein Plaintiffs paid

   $227,000.00 to the seller David L. Helfet and Mary B. Helfet and obtained title to Residence

   Interest No. 11 consisting of an undivided 1/12 interest in Residence No. 8314 of Aspen

   Highlands Condominiums.

          aa)     Plaintiff Jack Zemer is a citizen of the State of California. Pursuant to a uniform

   Purchase Contract signed in 2001, Mr. Zemer paid $230,000.00 to the seller Ritz Carlton

   Development Company, and obtained title to Residence Interest No. 11 consisting of an

   undivided 1/12 interest in Residence No. 8405 of Aspen Highlands Condominiums.

          bb)     Plaintiffs Jeffrey L. Bernstein and Amy S. Bernstein are citizens of the State of

   California. Pursuant to a uniform Purchase Contract signed in 2006, the Bernstein Plaintiffs paid

   $275,000.00 to the seller Ritz Carlton Development Company, and obtained title to Residence

   Interest No. 5 consisting of an undivided 1/12 interest in Residence No. 8106 of Aspen

   Highlands Condominiums.

          cc)     Plaintiffs Christopher Branoff and Kimberley Branoff are citizens of the State

   of Florida. Pursuant to a uniform Purchase Contract signed in 2003, the Branoff Plaintiffs paid


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   $230,000.00 to the seller Ritz Carlton Development Company, and obtained title to Residence

   Interest No. 3 consisting of an undivided 1/12 interest in Residence No. 8410 of Aspen

   Highlands Condominiums.

          dd)    Plaintiffs Richard Louis Levengood and Lynda Overly Levengood are citizens

   of the State of Pennsylvania. Pursuant to a uniform Purchase Contract signed in 2006, the

   Levengood Plaintiffs paid $435,000.00 to the seller Ritz Carlton Development Company, and

   obtained title to Residence Interest No. 1 consisting of an undivided 1/12 interest in Residence

   No. 2407 of Aspen Highlands Condominiums.

          ee)    Plaintiffs Fred H. Friedman and Brenda C. Friedman are citizens of the State

   of Alabama. Pursuant to a uniform Purchase Contract signed in 2003, the Friedman Plaintiffs

   paid $200,000.00 to the seller Ritz Carlton Development Company, and obtained title to

   Residence Interest No. 8 consisting of an undivided 1/12 interest in Residence No. 8215 of

   Aspen Highlands Condominiums.

          ff)    Plaintiff Benje R. Daniel, Jr., DDS, MS, PA is a citizen of the State of Texas.

   Pursuant to a uniform Purchase Contract signed in 2005, Plaintiff paid $351,000.00 to the seller

   Ritz Carlton Development Company, and obtained title to Residence Unit No. 5 consisting of an

   undivided 1/12 interest in Residence No. 8203 of Aspen Highlands Condominiums.

          gg)    Plaintiffs R. David Jones and Cheryl M. Jones are citizens of the State of Texas

   and Trustees of the R. David & Cheryl M. Jones Revocable Living Trust (collectively, the

   “Jones Plaintiffs”). Pursuant to a uniform Purchase Contract signed in 2003, Plaintiffs

   $230,000.00 to the seller Ritz Carlton Development Company, and obtained title to Residence




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   Interest No. 8 consisting of an undivided 1/12 interest in Residence No. 8415 of the Aspen

   Highlands Condominiums.

          hh)    Plaintiff Lily Ann Friedman is a citizen of the State of Ohio. Pursuant to a

   uniform Purchase Contract signed in 2001, Ms. Friedman paid $270,000.00 to the seller Ritz

   Carlton Development Company, and obtained title to Residence Interest No. 7 consisting of an

   undivided 1/12 interest in Residence No. 8315 of the Aspen Highlands Condominiums.

          ii)    Plaintiff 831 701 Ontario, is a Canadian Corporation. Ron Ennis is a citizen of

   Canada and President of 831 701 Ontario. In 2004, 831 701 Ontario paid $205,000.00 to seller

   Pitkin County Exchange Holdings of Aspen, LLC and obtain title to Residence Interest No. 2 of

   an undivided 1/12 interest in Residence No. 8415 of the Aspen Highlands Condominiums.

          jj)    Plaintiffs Garry R. Kimball and Catherine G.C. Kimball are citizens of the

   State of Texas. Pursuant to a uniform Purchase Contract signed in 2001, the Kimball Plaintiffs

   paid $180,000.00 to the seller Ritz Carlton Development Company, and obtained title to

   Residence Interest No. 10 consisting of an undivided 1/12 interest in Residence No. 8104 of

   Aspen Highlands Condominiums.

          kk)    Plaintiff David Friedman is a citizen of the State of Michigan. In 2005, Mr.

   Friedman paid $245,000.00 to the seller Scott C. Brittingham Trust, and obtained title to

   Residence Interest No. 5 consisting of an undivided 1/12 interest in Residence No. 8304 of

   Aspen Highlands Condominiums.

          ll)    Plaintiffs Michael G. Robinson and Caroline Robinson are citizens of the State

   of Texas. Pursuant to a uniform Purchase Contract signed in 2001, the Robinson Plaintiffs paid

   $250,000.00 to the seller Ritz Carlton Development Company and obtained title to Residence


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   Unit No. 12 consisting of an undivided 1/12 interest in Residence No. 8306 of the Aspen

   Highlands Condominiums. Additionally, pursuant to a uniform Purchase Contract signed in

   2009, Plaintiffs paid $139,000.00 to the seller Ritz Carlton Development Company and obtained

   title to Residence Unit No. 12 consisting of an undivided 1/12 interest in Residence No. 8410 of

   the Aspen Highlands Condominiums.

          mm)    Plaintiff Hammer Family Limited Partnership for benefit of Robert Hammer,

   Renee Hammer, Barry Hammer and Jeffrey Hammer is an Illinois partnership. Pursuant to

   a uniform Purchase Contract signed in 2002, Plaintiff paid $190,000.00 to seller Ritz Carlton

   Development Company Inc. and obtain title to Residence Interest No. 9 of an undivided 1/12

   interest in Residence No. 8202 of the Aspen Highlands Condominiums.

          nn)    Plaintiff 8202 RCC Aspen Highlands, LLC is a Texas limited liability company,

   in good standing. John S. Rubin and Margaret Rubin are citizens of the State of Texas.

   Pursuant to a uniform Purchase Contract signed in 2001, Plaintiff paid $250,000.00 to the seller

   Ritz Carlton Development Company and obtained title to Residence Unit No. 8 consisting of an

   undivided 1/12 interest in Residence No. 8208 of the Aspen Highlands Condominiums.

          oo)    Plaintiffs Carl Andrew Rudella and Tammiejo Rudella are citizens of the State

   of Florida. Pursuant to a uniform Purchase Contract signed in 2005, the Rudella Plaintiffs paid

   $180,000.00 to the seller Ritz Carlton Development Company and obtained title to Residence

   Unit No. 20 consisting of an undivided 1/12 interest in Residence No. 8411 of the Aspen

   Highlands Condominiums.

          pp)    Plaintiff Robert Kaufmann is a citizen of the State of Georgia. Pursuant to a

   uniform Purchase Contract signed in 2004, Mr. Kaufmann paid $240,000.00 to the seller Ritz


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   Carlton Development Company, and obtained title to Residence Interest No. 8 consisting of an

   undivided 1/12 interest in Residence No. 2204 of Aspen Highlands Condominiums.

          qq)    Plaintiff David S. Israel is citizen of the State of Illinois and is Trustee of the

   David S. Israel Trust. In 2008, Plaintiff paid $185,000.00 to the sellers Glenn H. Clements and

   Michele M. Clements, and obtained title to Residence Interest No. 7 consisting of an undivided

   1/12 interest in Residence No. 2306 of the Aspen Highlands Condominiums.

          rr)    Plaintiff J & B Woods Family Associates, LLC is a New York limited liability

   company, in good standing. Pursuant to a uniform Purchase Contract signed in 2002, Mr. Woods

   (James Woods and his wife Barbara Woods, as individuals, originally purchased unit, later

   transferring ownership to J & B Wood Family Associates, LLC) paid $260,000.00 to the seller

   Ritz Carlton Development Company, and obtained title to Residence Interest No. 3 consisting of

   an undivided 1/12 interest in Residence No. 8104 of Aspen Highlands Condominiums.

          ss)    Plaintiffs Michael P. Pacin and Amy D. Ronner are citizens of the State of

   Florida (collectively, the “Pacin Plaintiffs”). Pursuant to a uniform Purchase Contract signed in

   2007, the Pacin Plaintiffs paid $225,000.00 to the seller Ritz Carlton Development Company and

   obtained title to an undivided 1/12 interest in Residence No. 2408 of the Aspen Highlands

   Condominiums. The interest is described in weeks.

          tt)    Plaintiffs Bruce E. Reid and Rosemary W. Reid are citizens of the State of

   Florida. Pursuant to a uniform Purchase Contract signed in 2002, the Reid Plaintiffs paid

   $200,000.00 to the seller Ritz Carlton Development Company and obtained title to Residence

   Unit No. 5 consisting of an undivided 1/12 interest in Residence No. 8202 of the Aspen

   Highlands Condominiums.


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          uu)     Plaintiff Charles F. A. McCluer, III, P.A. is a Texas corporation, in good

   standing. Charles McCluer and Carol McCluer are citizens of the State of Texas. Pursuant to a

   uniform Purchase Contract signed in 2004, Plaintiff paid $254,000.00 to the seller Ritz Carlton

   Development Company and obtained title to Residence Unit No. 8 consisting of an undivided

   1/12 interest in Residence No. 2306 of the Aspen Highlands Condominiums.

          vv)     Plaintiffs Frank R. Vogl and Emily Vogl are citizens of the District of Columbia.

   Pursuant to a uniform Purchase Contract signed in 2004, the Vogl Plaintiffs paid $350,000.00 to

   the seller Ritz Carlton Development Company and obtained title to Residence Unit No. 6

   consisting of an undivided 1/12 interest in Residence No. 2203 of the Aspen Highlands

   Condominiums.

          ww)     Plaintiff Levy Ventures Limited Partnership for the benefit of Elliot Levy is a

   Florida partnership. In 2002, the Plaintiff paid $174,500.00 to the seller Arnold S. Wood and

   obtained title to Residence Unit No. 8 consisting of an undivided 1/12 interest in Residence No.

   8409 of the Aspen Highlands Condominiums.

          xx)     Plaintiff DRE, Inc. is an Illinois corporation, in good standing. Dennis Egidi is a

   citizen of the State of Illinois. In 2005, Plaintiff paid $320,000.00 to the sellers Robert E. Walsh

   and Patricia M. Westcott and obtained title to Residence Unit No. 6 consisting of an undivided

   1/12 interest in Residence No. 8410 of the Aspen Highlands Condominiums. Additionally,

   pursuant to a uniform Purchase Contract signed in 2005, Plaintiff paid $266,600.00 to the seller

   Ritz Carlton Development Company and obtained title to Residence Unit No. 1 consisting of an

   undivided 1/12 interest in Residence No. 8401 of the Aspen Highlands Condominiums.

   Additionally, pursuant to a uniform Purchase Contract signed in 2005, Plaintiff paid $145,000.00


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   to the seller Ritz Carlton Development Company and obtained title to an undivided 1/12 interest

   in Residence No. 2408 of the Aspen Highlands Condominiums. The interest is described in

   weeks. Additionally, pursuant to a uniform Purchase Contract signed in 2006, Plaintiff paid

   $265,000.00 to the seller Ritz Carlton Development Company and obtained title to an undivided

   1/12 interest in Residence No. 2401 of the Aspen Highlands Condominiums. The interest is

   described in weeks.

          yy)    Plaintiffs Robert C. Hubbell and Jan H. Hubbell are citizens of the State of

   Colorado. Pursuant to a uniform Purchase Contract signed in 2001, the Hubbell Plaintiffs paid

   $180,000.00 to the seller Ritz Carlton Development Company and obtained title to Residence

   Unit No. 6 consisting of an undivided 1/12 interest in Residence No. 8404 of the Aspen

   Highlands Condominiums.

          zz)    Plaintiff David Schaecter is a citizen of the State of Florida. Pursuant to a

   uniform Purchase Contract signed in 2001, Schaecter Plaintiff paid $160,000.00 to the seller Ritz

   Carlton Development Company and obtained title to Residence Unit No. 24 consisting of an

   undivided 1/12 interest in Residence No. 8402 of the Aspen Highlands Condominiums.

          aaa)   Plaintiffs Vladimir Malakhova and Ludmila Malakhova are citizens of the

   State of Florida. Pursuant to a uniform Purchase Contract signed in 2005, the Malakhova

   Plaintiffs paid $290,000.00 to the seller Ritz Carlton Development Company and obtained title to

   Residence Unit No. 5 consisting of an undivided 1/12 interest in Residence No. 2205 of the

   Aspen Highlands Condominiums. Additionally, pursuant to a uniform Purchase Contract signed

   in 2006, the Malakhova Plaintiffs paid $385,000.00 to the seller Ritz Carlton Development




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   Company and obtained title to an undivided 1/12 interest in Residence No. 2305 of the Aspen

   Highlands Condominiums. The interest is described in weeks.

          bbb)    Plaintiff El Paso Asset Management, LLC is an Alaska limited liability

   company, in good standing. Bruce Michael Bridewell is a citizen of the State of Florida.

   Pursuant to a uniform Purchase Contract signed in 2003, Plaintiff (deeded to El Paso Asset

   Management, LLC in 2010) paid $180,000.00 to the seller Ritz Carlton Development Company

   and obtained title to Residence Unit No. 6 consisting of an undivided 1/12 interest in Residence

   No. 8408 of the Aspen Highlands Condominiums.

          ccc)    Plaintiffs Samuel H. Pepkowitz and Roberta A. Pepkowitz are a citizens of the

   State of California and Trustees of the Pepkowitz Trust (collectively, the “Pepkowitz

   Plaintiffs”). Pursuant to a uniform Purchase Contract signed in 2006, Samuel Herschel

   Pepkowitz and Roberta Ann Pepkowitz (deeded to Pepkowitz Trust in 2003) paid $190,000.00 to

   the seller Ritz Carlton Development Company and obtained title to Residence Unit No. 23

   consisting of an undivided 1/12 interest in Residence No. 8411 of the Aspen Highlands

   Condominiums.

          ddd)    Plaintiff JH Capital Corporation is a voluntary dissolved Florida corporation.

   Joe Hassan is a citizen of the State of Florida. Pursuant to a uniform Purchase Contract signed in

   2001, Plaintiff paid $440,000.00 to the seller Ritz Carlton Development Company and obtained

   title to Residence Unit No. 8 consisting of an undivided 1/12 interest in Residence No. 4301 of

   the Aspen Highlands Condominiums.

          eee)    Plaintiffs David S. Blacher and Constance H. Blacher are citizens of the State

   of Florida. In 2003, the Blacher Plaintiffs paid $230,000.00 to the seller Margie H. Bach and


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   obtained title to Residence Unit No. 9 consisting of an undivided 1/12 interest in Residence No.

   8415 of the Aspen Highlands Condominiums.

          fff)   Plaintiffs Bryan J. Hawkins and Laura A. Hawkins are citizens of the State of

   Oklahoma. Pursuant to a uniform Purchase Contract signed in 2002, the Hawkins Plaintiffs paid

   $300,000.00 to the seller Ritz Carlton Development Company and obtained title to Residence

   Unit No. 3 consisting of an undivided 1/12 interest in Residence No. 8315 of the Aspen

   Highlands Condominiums.

          ggg)   Plaintiff Bruce M. Nesbitt is a citizen of the State of Illinois and Trustee of the

   Bruce Nesbitt Revocable Trust (collectively the “Nestbitt Plaintiff”). Pursuant to a uniform

   Purchase Contract signed in 2001, Bruce M. Nesbitt and Elizabeth W. Nesbitt (deeded to the

   Bruce Nesbitt Revocable Trust in 2005) paid $230,000.00 to the seller Ritz Carlton Development

   Company and obtained title to Residence Unit No. 3 consisting of an undivided 1/12 interest in

   Residence No. 8401 of the Aspen Highlands Condominiums.

          hhh)   Plaintiff Monica M. Campanella is a citizen of the State of New York and

   Trustee of the Le Befana Trust (collectively, the “Campanella Plaintiff”). Pursuant to a uniform

   Purchase Contract signed in 2006, the Campanella Plaintiff paid $405,000.00 to the seller Ritz

   Carlton Development Company and obtained title to Residence Unit No. 1 consisting of an

   undivided 1/12 interest in Residence No. 2203 of the Aspen Highlands Condominiums.

          iii)   Plaintiff Reeta G. Casey is a citizen of the Florida and Trustee of the Reeta G.

   Casey Revocable Living Trust (collectively, the “Casey Plaintiff”). Pursuant to a uniform in

   2008, the Casey Plaintiff paid $165,000.00 to the seller Double B Aspen, LLC, a Texas limited




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   liability company and obtained title to Residence Unit No. 12 consisting of an undivided 1/12

   interest in Residence No. 8415 of the Aspen Highlands Condominiums.

          jjj)   Plaintiffs Anthony F. Prinster and Sally L. Prinster are citizens of the State of

   Colorado. Pursuant to a uniform Purchase Contract signed in 2001, the Prinster Plaintiffs paid

   $270,000.00 to the seller Ritz Carlton Development Company and obtained title to Residence

   Unit No. 11 consisting of an undivided 1/12 interest in Residence No. 8301 of the Aspen

   Highlands Condominiums.

          kkk)   Plaintiff Kevin E. Grant is a citizen of the Commonwealth of Massachusetts. In

   2010, Grant Plaintiff paid $90,000.00 to the seller Howard (John) Leonhardt and obtained title to

   Residence Unit No. 3 consisting of an undivided 1/12 interest in Residence No. 8415 of the

   Aspen Highlands Condominiums.

          lll)   Plaintiffs Gilbert P. Gradinger and Sally A. Gradinger are citizens of the State

   of California and Trustees of The Gilbert and Sally Gradinger 2001 Revocable Trust

   (collectively “Gradinger Plaintiffs”). Pursuant to a uniform Purchase Contract signed in 2002,

   Gilbert P. Gradinger and Sally A. Gradinger (deeded to The Gilbert and Sally Gradinger 2001

   Revocable Trust in 2011) paid $290,000.00 to the seller Ritz Carlton Development Company and

   obtained title to Residence Unit No. 10 consisting of an undivided 1/12 interest in Residence No.

   8315 of the Aspen Highlands Condominiums.

          mmm) Plaintiffs Jeffrey Rappin and Penny Brown are citizens of the State of Illinois.

   In 2004, the Rappin Plaintiffs paid $225,000.00 to the seller Nicholas Wayne and Danielle R.

   Wayne and obtained title to Residence Unit No. 8 consisting of an undivided 1/12 interest in

   Residence No. 8314 of the Aspen Highlands Condominiums. Additionally, pursuant to a uniform


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   Purchase Contract signed in 2009, the Rappin Plaintiffs paid $285,000.00 to the seller Ritz

   Carlton Development Company and obtained title to Residence Unit No. 6 consisting of an

   undivided 1/12 interest in Residence No. 8211 of the Aspen Highlands Condominiums.

          nnn)   Plaintiff Milan Randic is a citizen of the State of Iowa and Trustee of the Milan

   Randic Trust. Plaintiff Mirjana Randic is a citizen of the State of Iowa and Trustee of the

   Mirjana Randic Trust (collectively, the “Randic Plaintiffs”). Pursuant to a uniform Purchase

   Contract signed in 2001, the Randic Plaintiffs paid $290,000.00 to the seller Ritz Carlton

   Development Company, and obtained title to Residence Interest No. 3 consisting of an undivided

   1/12 interest in Residence No. 8303 of the Aspen Highlands Condominiums.

          ooo)   Plaintiffs Charles B. Buchanan and Charlotte S. Buchanan are citizens of the

   State of New York. Pursuant to a uniform Purchase Contract signed in 2001, the Buchanan

   Plaintiffs paid $190,000.00 to the seller Ritz Carlton Development Company and obtained title to

   Residence Unit No. 3 consisting of an undivided 1/12 interest in Residence No. 8304 of the

   Aspen Highlands Condominiums.

          ppp)   Plaintiff Annette Kalcheim is a citizen of the State of Illinois and Trustee of the

   Annette Kalcheim Trust. Pursuant to a uniform Purchase Contract signed in 2003, the

   Kalcheim Plaintiff paid $240,000.00 to the seller Ritz Carlton Development Company, and

   obtained title to Residence Interest No. 3 consisting of an undivided 1/12 interest in Residence

   No. 8306 of the Aspen Highlands Condominiums.

          qqq)   Plaintiff Mindy R. Wexler is a citizen of the State of Minnesota and Trustee of

   the Mindy R. Wexler Revocable Trust. Pursuant to a uniform Purchase Contract signed in

   2009, Mindy Wexler (deeded to the Mindy R. Wexler Revocable Trust in 2011) paid


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   $117,500.00 to the seller Ritz Carlton Development Company, and obtained title to Residence

   Interest No. 12 consisting of an undivided 1/12 interest in Residence No. 8403 of the Aspen

   Highlands Condominiums.

          rrr)    Plaintiffs John Bergstrom, Norman C. Creech and Susan S. Creech are

   citizens of the State of Colorado (collectively “Bergstrom Plaintiffs”). Pursuant to a uniform

   Purchase Contract signed in 2004, the Bergstrom Plaintiffs paid $210,000.00 to the seller Ritz

   Carlton Development Company and obtained title to Residence Unit No. 7 consisting of an

   undivided 1/12 interest in Residence No. 2202 of the Aspen Highlands Condominiums.

          sss)    Plaintiffs John E. Blanchard, Jennifer Blanchard, Robert Blanchard and

   Ellen Blanchard are citizens of the State of Florida. Pursuant to a uniform Purchase Contract

   signed in 2007, the Blanchard Plaintiffs paid $285,000.00 to the seller Ritz Carlton Development

   Company and obtained title to Residence Unit No. 11 consisting of an undivided 1/12 interest in

   Residence No. 2208 of the Aspen Highlands Condominiums.

          ttt)    Plaintiff Louise B. Hoversten is a citizen of the State of Colorado. Pursuant to a

   uniform Purchase Contract signed in 2002, Phillip E. Hoversten and Louise B. Hoversten

   (deeded to Louise B. Hoversten in 2004) paid $250,000.00 to the seller Ritz Carlton

   Development Company and obtained title to Residence Unit No. 4 consisting of an undivided

   1/12 interest in Residence No. 8314 of the Aspen Highlands Condominiums.

          uuu)    Plaintiffs Howard A. Simon and Elizabeth M. Simon are citizens of the State of

   Illinois. In 2011, the Simon Plaintiffs paid $117,000.00 to the seller Taylor Capital Ventures, LP,

   a Mississippi limited partnership, and obtained title to Residence Unit No. 11 consisting of an

   undivided 1/12 interest in Residence No. 8206 of the Aspen Highlands Condominiums.


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          vvv)    Plaintiffs Gary S. Chavin and Pat A. Chavin are citizens of the State of Illinois.

   Pursuant to a uniform Purchase Contract signed in 2001, the Chavin Plaintiffs paid $180,000.00

   to the seller Ritz Carlton Development Company and obtained title to Residence Unit No. 2

   consisting of an undivided 1/12 interest in Residence No. 8404 of the Aspen Highlands

   Condominiums.

          www) Plaintiff Greg Jacobson is a citizen of the State of California. Pursuant to a

   uniform Purchase Contract signed in 2008, the Jacobson Plaintiff paid $220,000.00 to the sellers

   Richard S. Ost and Beth Ost, and obtained title to Residence Unit No. 1 consisting of an

   undivided 1/12 interest in Residence No. 8314 of the Aspen Highlands Condominiums.

          xxx)    Plaintiffs Douglas Kadison and Carol Kadison are citizens of the State of Texas.

   Pursuant to a uniform Purchase Contract signed in 2001, the Kadison Plaintiffs paid $260,000.00

   to the seller Ritz Carlton Development Company and obtained title to Residence Unit No. 7

   consisting of an undivided 1/12 interest in Residence No. 8208 of the Aspen Highlands

   Condominiums.

          yyy)    Plaintiff Joseph Fryzer is citizen of the State of California. Pursuant to a uniform

   Purchase Contract signed in 2003, the Fryzer Plaintiff paid $250,000.00 to the seller Ritz Carlton

   Development Company and obtained title to Residence Unit No. 6 consisting of an undivided

   1/12 interest in Residence No. 8216 of the Aspen Highlands Condominiums.

          zzz)    Plaintiff Danny V. Lackey is a citizen of the State of North Carolina and Trustee

   of the Danny V. Lackey Living Trust. Plaintiff Nancy L. Lackey is a citizen of the State of

   North Carolina and Trustee of the Nancy L. Lackey Living Trust (collectively, the “Lackey

   Plaintiffs”). Pursuant to a uniform Purchase Contract signed in 2006, the Lackey Plaintiffs paid


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   $257,000.00 to the seller Ritz Carlton Development Company, and obtained title to Residence

   Interest No. 10 consisting of an undivided 1/12 interest in Residence No. 2205 of the Aspen

   Highlands Condominiums.

          aaaa) Plaintiffs H.M. Palm and Margaret Palm are citizens of the State of Texas.

   Pursuant to a uniform Purchase Contract signed in 2003, the Palm Plaintiffs paid $220,000.00 to

   the seller Ritz Carlton Development Company and obtained title to Residence Unit No. 8

   consisting of an undivided 1/12 interest in Residence No. 8311 of the Aspen Highlands

   Condominiums.

          bbbb) Plaintiffs Paul C. Rosenthal and Carla P. Rosenthal are citizens of the State of

   Maryland. In 2007, the Rosenthal Plaintiffs paid $235,000.00 to the sellers Peter N. Louras, Jr.

   and Mary M. Louras, Trustees of the Peter and Mary Louras Trust, a California Trust, and

   obtained title to Residence Unit No. 12 consisting of an undivided 1/12 interest in Residence No.

   8308 of the Aspen Highlands Condominiums. Additionally, pursuant to a uniform Purchase

   Contract signed in 2009, the Rosenthal Plaintiffs paid $139,500.00 to the seller Ritz Carlton

   Development Company and obtained title to Residence Unit No. 9 consisting of an undivided

   1/12 interest in Residence No. 8410 of the Aspen Highlands Condominiums. Additionally, in

   2012, the Rosenthal Plaintiffs paid $100,000.00 to the sellers Janice Penrose and Chris Penrose

   and obtained title to Residence Unit No. 11 consisting of an undivided 1/12 interest in Residence

   No. 8307 of the Aspen Highlands Condominiums.

          cccc) Plaintiffs David A. Figliulo and Lesa A. Figliulo are citizens of the State of

   Illinois and Trustees of The David & Lesa Figliulo Family Revocable Living Trust

   (collectively, the “Figliulo Plaintiffs”). Pursuant to a uniform Purchase Contract signed in 2008,


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   David A. Figliulo and Lesa A. Figliulo (deeded to The David & Lesa Figliulo Family Revocable

   Living Trust in 2015) paid $495,000.00 to the seller Ritz Carlton Development Company, and

   obtained title to Residence Interest No. 3 consisting of an undivided 1/12 interest in Residence

   No. 8307 of the Aspen Highlands Condominiums.

          dddd) Plaintiffs Walter H. Petrie and Nancy A. Petrie are citizens of the State of

   Maryland. Pursuant to a uniform Purchase Contract signed in 2004, the Petrie Plaintiffs paid

   $260,000.00 to the seller Ritz Carlton Development Company and obtained title to Residence

   Unit No. 4 consisting of an undivided 1/12 interest in Residence No. 8306 of the Aspen

   Highlands Condominiums.

          eeee) Plaintiffs Kenneth Tompkins and Kimberly Tompkins are citizens of the State

   of Virginia. In 2003, the Tompkins Plaintiffs paid $275,000.00 to the seller Sylvia Beatty and

   obtained title to Residence Unit No. 4 consisting of an undivided 1/12 interest in Residence No.

   8308 of the Aspen Highlands Condominiums.

          ffff)   Plaintiff Barbara L. Palazzolo is a citizen of the State of Michigan and Trustee

   of the Barbara L. Palazzolo Revocable Trust (collectively, the “Palazzolo Plaintiff”). Pursuant

   to a uniform Purchase Contract signed in 2003, Sebastian Palazzolo and Barbara Palazzolo, the

   original purchasers (deeded to the Barbara L. Palazzolo Revocable Trust in 2007)           paid

   $240,000.00 to the seller Ritz Carlton Development Company, and obtained title to Residence

   Interest No. 6 consisting of an undivided 1/12 interest in Residence No. 8311 of the Aspen

   Highlands Condominiums.

          gggg) Plaintiffs Dana James Weinkle and Susan Holloway Weinkle are citizens of the

   State of Florida. In 2009, the Weinkle Plaintiffs paid $165,000.00 to the seller Lon M. Baronne


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   and Karen G. Baronne and obtained title to Residence Unit No. 5 consisting of an undivided 1/12

   interest in Residence No. 2301 of the Aspen Highlands Condominiums.

          hhhh) Plaintiffs Evan Rabinowitz and Ami Rabinowitz are citizens of the State of

   Florida and Trustees of the Ami Rabinowitz Trust (collectively, the “Rabinowitz Plaintiffs”).

   Pursuant to a uniform Purchase Contract signed in 2006, the Rabinowitz Plaintiffs paid

   $420,000.00 to the seller Arthur Falcone, Trustee of the Arthur Falcone Revocable Living Trust,

   a Florida Trust, and obtained title to Residence Interest No. 2 consisting of an undivided 1/12

   interest in Residence No. 8210 of the Aspen Highlands Condominiums.

          iiii)   Plaintiff Kona, Ltd. is a Texas limited partnership.. Ryan M. Youngblood is a

   citizen of the State of Texas and manager of Kona, Ltd. Pursuant to a uniform Purchase Contract

   signed in 2004, Plaintiff paid $295,000.00 to the seller Ritz Carlton Development Company and

   obtained title to Residence Unit No. 21 consisting of an undivided 1/12 interest in Residence No.

   8201 of the Aspen Highlands Condominiums.

          jjjj)   Plaintiffs Steve V. Gurland and Caroline I. Gurland are citizens of the State of

   Florida. Pursuant to a uniform Purchase Contract signed in 2004, the Gurland Plaintiffs paid

   $160,000.00 to the seller Ritz Carlton Development Company and obtained title to Residence

   Unit No. 10 consisting of an undivided 1/12 interest in Residence No. 8404 of the Aspen

   Highlands Condominiums.

          kkkk) Plaintiff Spencer L. Youngblood Family Partnership Ltd. is a Texas limited

   partnership. Spencer L. Youngblood is a citizen of the State of Texas and manager of Spencer

   L. Youngblood Family Partnership Ltd. Pursuant to a uniform Purchase Contract signed in 2001,

   Plaintiff paid $230,000.00 to the seller Ritz Carlton Development Company and obtained title to


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   Residence Unit No. 8 consisting of an undivided 1/12 interest in Residence No. 8205 of the

   Aspen Highlands Condominiums.

          llll)   Plaintiffs Kenneth D. Cushman and Carol A. Cushman are citizens of the State

   of Texas. Pursuant to a uniform Purchase Contract signed in 2001, the Cushman Plaintiffs paid

   $290,000.00 to the seller Ritz Carlton Development Company and obtained title to Residence

   Unit No. 8 consisting of an undivided 1/12 interest in Residence No. 8305 of the Aspen

   Highlands Condominiums.

          mmmm)          Plaintiffs Dan Moskowitz and Wendy Moskowitz are citizens of the

   State of New York. Pursuant to a uniform Purchase Contract signed in 2009, the Moskowitz

   Plaintiffs paid $120,000.00 to the seller Ritz Carlton Development Company and obtained title to

   Residence Unit No. 10 consisting of an undivided 1/12 interest in Residence No. 2208 of the

   Aspen Highlands Condominiums.

          nnnn) Plaintiffs Gary Sheldon Kohler and Deborah Joy Kohler are citizens of the

   State of Minnesota. Pursuant to a uniform Purchase Contract signed in 2011, the Kohler

   Plaintiffs paid $115,000.00 to the seller Ritz Carlton Development Company and obtained title to

   Residence Unit No. 12 consisting of an undivided 1/12 interest in Residence No. 8215 of the

   Aspen Highlands Condominiums.

          oooo) Plaintiffs Lewis J. Hirsch and Gayle Hirsch are citizens of the State of Illinois.

   In 2005, the Hirsch Plaintiffs paid $180,000.00 to the seller 831 701 Ontario Limited, a Canadian

   corporation, and obtained title to Residence Unit No. 5 consisting of an undivided 1/12 interest

   in Residence No. 8404 of the Aspen Highlands Condominiums.




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          pppp) Plaintiff Bradley Properties, LLC is an Alabama limited liability company, in

   good standing. Merrill N. Bradley and Julia H. Bradley are citizens of the State of Alabama

   (collectively the “Bradley Plaintiffs”). Pursuant to a uniform Purchase Contract signed in 2002,

   Merrill N. Bradley and Julia H. Bradley, the original purchasers (deeded to Bradley Properties,

   LLC in 2004) paid $290,000.00 to the seller Ritz Carlton Development Company and obtained

   title to Residence Unit No. 6 consisting of an undivided 1/12 interest in Residence No. 8209 of

   the Aspen Highlands Condominiums. Additionally, pursuant to a uniform Purchase Contract

   signed in 2002, Merrill N. Bradley and Julia H. Bradley, the original purchasers (deeded to

   Bradley Properties, LLC in 2004) paid $265,000.00 to the seller Ritz Carlton Development

   Company and obtained title to Residence Unit No. 12 consisting of an undivided 1/12 interest in

   Residence No. 8209 of the Aspen Highlands Condominiums.

          qqqq) Plaintiff Anna P. Zalk is a citizen of the State of New Jersey. In 2003, Anna P.

   Zalk and Kenneth Zalk (deeded to Anna P. Zalk in 2011) paid $240,000.00 to the sellers Jim

   Hyssen and Merita Hyssen, and obtained title to Residence Unit No. 5 consisting of an undivided

   1/12 interest in Residence No. 8209 of the Aspen Highlands Condominiums.

          rrrr)   Plaintiff David Jackel Trustee is a citizen of the State of California and Trustee

   of the Mountain Drive Trust (collectively, the “Jackel Plaintiff”). Pursuant to a uniform

   Purchase Contract signed in 2003, Jackel Plaintiff paid $350,000.00 to the seller Ritz Carlton

   Development Company, and obtained title to Residence Interest No. 3 consisting of an undivided

   1/12 interest in Residence No. 2203 of the Aspen Highlands Condominiums. Additionally,

   pursuant to a uniform Purchase Contract signed in 2006, Jackel Plaintiff paid $455,000.00 to the

   seller Ritz Carlton Development Company, and obtained an undivided 1/12 interest in Residence


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   No. 2207 of the Aspen Highlands Condominiums. The interest is described in weeks.

   Additionally, pursuant to a uniform Purchase Contract signed in 2008, Jackel Plaintiff paid

   $277,000.00 to the seller Ritz Carlton Development Company, and obtained an undivided 1/12

   interest in Residence No. 2304 of the Aspen Highlands Condominiums. The interest is described

   in weeks.

          ssss)   Plaintiffs William M. Waxman, a citizen of the State of Texas and Alan S.

   Waxman, a citizen of the State of New York (collectively “Waxman Plaintiffs”). Pursuant to a

   uniform Purchase Contract signed in 2004, the Waxman Plaintiffs paid $250,000.00 to the seller

   Ritz Carlton Development Company and obtained title to Residence Unit No. 8 consisting of an

   undivided 1/12 interest in Residence No. 2208 of the Aspen Highlands Condominiums.

          tttt)   Plaintiffs Timothy J. Hyland and Natalie B. Hyland are citizens of the State of

   Arizona and Trustees of the Hyland Revocable Living Trust (collectively, the “Hyland

   Plaintiffs”). Pursuant to a uniform Purchase Contract signed in 2004, the Hyland Plaintiffs paid

   $200,000.00 to the seller Ritz Carlton Development Company, and obtained title to Residence

   Interest No. 11 consisting of an undivided 1/12 interest in Residence No. 8403 of the Aspen

   Highlands Condominiums. Additionally, in 2005, the Hyland Plaintiffs paid $347,500.00 to the

   sellers Harold J. Bouillion and Charlene L. Bouillion, and obtained title to Residence Interest No.

   10 consisting of an undivided 1/12 interest in Residence No. 8301 of the Aspen Highlands

   Condominiums.

          uuuu) Plaintiff Neil Spizizen Trustee is a citizen of the State of Michigan and Trustee

   of the Neil Spizizen Trust (collectively, the “Spizizen Plaintiff”). Pursuant to a uniform

   Purchase Contract signed in 2006, Spizizen Plaintiff paid $495,000.00 to the seller Ritz Carlton


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   Development Company, and obtained title to Residence Interest No. 2 consisting of an undivided

   1/12 interest in Residence No. 8207 of the Aspen Highlands Condominiums.

          vvvv) Plaintiffs D. L. Wilkey and Julie Janicek-Wilkey are citizens of the State of

   New Mexico. Pursuant to a uniform Purchase Contract signed in 2003, the Wilkey Plaintiffs paid

   $240,000.00 to the seller Ritz Carlton Development Company and obtained title to Residence

   Unit No. 2 consisting of an undivided 1/12 interest in Residence No. 8311 of the Aspen

   Highlands Condominiums.

          wwww)           Plaintiffs Cass Franklin and Vera Stewart Franklin are citizens of the

   State of Iowa. Pursuant to a uniform Purchase Contract signed in 2005, the Franklin Plaintiffs

   paid $490,000.00 to the seller Ritz Carlton Development Company and obtained title to

   Residence Unit No. 3 consisting of an undivided 1/12 interest in Residence No. 8307 of the

   Aspen Highlands Condominiums.

          xxxx) Plaintiffs Daryl Cramer, Heather Cramer and Hope S. Barkan (collectively

   the “Cramer Plaintiffs”) are citizens of the State of Colorado. Pursuant to a uniform Purchase

   Contract signed in 2003, the Cramer Plaintiffs paid $219,000.00 to the seller Ritz Carlton

   Development Company and obtained title to Residence Unit No. 4 consisting of an undivided

   1/12 interest in Residence No. 8214 of the Aspen Highlands Condominiums.

          yyyy) Plaintiff Jacob Louis Slevin is a citizen of the State of New Jersey. In 2006,

   Maury B. Slevin and Jacob Louis Slevin (deeded to Jacob Louis Slevin in 2015) paid

   $382,500.00 to the sellers Lon M. Baronne and Karen G. Baronne and obtained title to an

   undivided 1/12 interest in Residence No. 2312 of the Aspen Highlands Condominiums. The

   interest is described in weeks.


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          zzzz) Plaintiff Ronald Lawrence Glazer is a citizen of the State of California and

   Trustee of the Ronald Lawrence Glazer Trust. Plaintiff Christiane Nicolini Glazer is a citizen

   of the State of California and Trustee of the Christiane Nicolini Glazer Trust (collectively, the

   “Glazer Plaintiffs”). Pursuant to a uniform Purchase Contract signed in 2006, the Glazer

   Plaintiffs paid $300,000.00 to the seller Ritz Carlton Development Company, and obtained title

   to Residence Interest No. 2 consisting of an undivided 1/12 interest in Residence No. 2405 of the

   Aspen Highlands Condominiums.

          aaaaa) Plaintiff Erich Tengelsen is a citizen of the State of Illinois. Pursuant to a

   uniform Purchase Contract signed in 2004, Tengelsen Plaintiff paid $230,000.00 to the seller

   Ritz Carlton Development Company, and obtained title to Residence Interest No. 2 consisting of

   an undivided 1/12 interest in Residence No. 2202 of the Aspen Highlands Condominiums.

          bbbbb) Plaintiffs Charles A. Gottlob and Cynthia G. Gottlob are citizens of the State of

   Colorado. Pursuant to a uniform Purchase Contract signed in 2003, the Gottlob Plaintiffs paid

   $210,000.00 to the seller Ritz Carlton Development Company and obtained title to Residence

   Unit No. 8 consisting of an undivided 1/12 interest in Residence No. 8106 of the Aspen

   Highlands Condominiums.

          ccccc) Plaintiff Lucy D. Anda is a citizen of the State of New York. Pursuant to a

   uniform Purchase Contract signed in 2006, Anda Plaintiff paid $510,000.00 to the seller Ritz

   Carlton Development Company, and obtained title to an undivided 1/12 interest in Residence

   No. 2401 of the Aspen Highlands Condominiums. The interest is described in weeks.

          ddddd) Plaintiff Neil G. Arnovitz is a citizen of Canada. In 2004, Arnovitz Plaintiff paid

   $216,600.00 to the seller William S. Weisman and Lauren B. Weisman, obtained title to


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   Residence Interest No. 1 consisting of an undivided 1/12 interest in Residence No. 8202 of the

   Aspen Highlands Condominiums. Additionally, pursuant to a uniform Purchase Contract signed

   in 2005, Arnovitz Plaintiff paid $195,000.00 to the seller Ritz Carlton Development Company,

   and obtained an undivided 1/12 interest in Residence No. 2408 of the Aspen Highlands

   Condominiums. The interest is described in weeks.

          eeeee) Plaintiff Melissa T. Crowley Trustee is a citizen of the State of Colorado and

   Trustee of the Peter Charles Crowley Trust (collectively, the “Crowley Plaintiff”). Pursuant to

   a uniform Purchase Contract signed in 2001, Crowley Plaintiff paid $200,000.00 to the seller

   Ritz Carlton Development Company, and obtained title to Residence Interest No. 5 consisting of

   an undivided 1/12 interest in Residence No. 8104 of the Aspen Highlands Condominiums.

          fffff)   Plaintiffs Patrick A. Lattore and Dee P. Lattore are citizens of the State of

   Nevada. Pursuant to a uniform Purchase Contract signed in 2010, the Lattore Plaintiffs paid

   $116,000.00 to the seller Ritz Carlton Development Company and obtained title to Residence

   Unit No. 11 consisting of an undivided 1/12 interest in Residence No. 8212 the Aspen Highlands

   Condominiums.

          ggggg) Plaintiffs Rocky J. Mountain and Janet M. Mountain are citizens of the State of

   Texas. Pursuant to a uniform Purchase Contract signed in 2005, the Mountain Plaintiffs paid

   $370,000.00 to the seller Ritz Carlton Development Company, and obtained title to Residence

   Interest No. 9 consisting of an undivided 1/12 interest in Residence No. 2407 of the Aspen

   Highlands Condominiums. Additionally, pursuant to a uniform Purchase Contract signed in

   2007, the Mountain Plaintiffs paid $318,250.00 to the seller Ritz Carlton Development




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   Company, and obtained title to Residence Interest No. 1 consisting of an undivided 1/12 interest

   in Residence No. 2208 of the Aspen Highlands Condominiums.

          hhhhh) Plaintiffs Phyllis Schofield and William F. Schofield, Jr. are citizens of the State

   of Florida. Pursuant to a uniform Purchase Contract signed in 2006, Schofield Plaintiffs paid

   $220,000.00 to the seller Ritz Carlton Development Company, and obtained title to an undivided

   1/12 interest in Residence No. 2410 of the Aspen Highlands Condominiums. The interest is

   described in weeks.

          iiiii)   Plaintiffs Mark L. Horwitz and Susan J. Horwitz are citizens of the State of

   Florida. Pursuant to a uniform Purchase Contract signed in 2008, the Horwitz Plaintiffs paid

   $189,000.00 to the seller Ritz Carlton Development Company, and obtained title to an undivided

   1/12 interest in Residence No. 2303 of the Aspen Highlands Condominiums. The interest is

   described in weeks.

          jjjjj)   Plaintiffs Joel Sacher and Susan J. Sacher are citizens of the State of New

   Jersey. Pursuant to a uniform Purchase Contract signed in 2001, the Sacher Plaintiffs paid

   $250,000.00 to the seller Ritz Carlton Development Company, and obtained title to Residence

   Interest No. 3 consisting of an undivided 1/12 interest in Residence No. 8209 of the Aspen

   Highlands Condominiums

          kkkkk) Plaintiff C & N Assets, Ltd. is a Texas limited partnership, in good standing.

   Heyward Taylor is a citizen of the State of Texas. Pursuant to a uniform Purchase Contract

   signed in 2001, Plaintiff paid $270,000.00 to the seller Ritz Carlton Development Company and

   obtained title to Residence Unit No. 9 consisting of an undivided 1/12 interest in Residence No.

   8315 of the Aspen Highlands Condominiums.


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          lllll)   Plaintiff Lisa Mottola Trustee is a citizen of the State of California and Trustee

   of the Lisa Mottola Trust (collectively, the “Mottola Plaintiff”). Pursuant to a uniform Purchase

   Contract signed in 2004, Mottola Plaintiff paid $260,000.00 to the seller Ritz Carlton

   Development Company, and obtained title to Residence Interest No. 6 consisting of an undivided

   1/12 interest in Residence No. 2204 of the Aspen Highlands Condominiums.

          mmmmm)          Plaintiff Mel A. Barkan is a citizen of the Commonwealth of

   Massachusetts. Pursuant to a uniform Purchase Contract signed in 2001, Barkan Plaintiff paid

   $250,000.00 to the seller Ritz Carlton Development Company, obtained title to Residence

   Interest No. 3 consisting of an undivided 1/12 interest in Residence No. 8308 of the Aspen

   Highlands Condominiums.

          nnnnn) Plaintiffs John Patrick McEvoy and Maria Gomez McEvoy are citizens of the

   State of New York. Pursuant to a uniform Purchase Contract signed in 2006, the McEvoy

   Plaintiffs paid $390,000.00 to the seller Ritz Carlton Development Company, and obtained title

   to Residence Interest No. 12 consisting of an undivided 1/12 interest in Residence No. 2309 of

   the Aspen Highlands Condominiums.

          ooooo) Plaintiff Greico Family Limited Partnership is a Texas limited partnership, in

   good standing. Frank Greico is a citizen of the State of Texas and president of the Greico

   Family Limited Partnership. Pursuant to a uniform Purchase Contract signed in 2006, Plaintiff

   paid $205,000.00 to the seller Ritz Carlton Development Company and obtained title to an

   undivided 1/12 interest in Residence No. 2305 of the Aspen Highlands Condominiums. The

   interest is described in weeks.




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          ppppp) Plaintiff JAWSFW, LLC is a Georgia limited liability company. Plaintiffs Clair

   F. White and Linda Gage-White are citizens of the State of Louisiana. In 2007, the Whites paid

   $250,000.00 to the sellers Stuart Newberger and Marcy Newberger, and obtained title to

   Residence Interest No. 4 consisting of an undivided 1/12 interest in Residence No. 8215 of the

   Aspen Highlands Condominiums. The Whites subsequently transferred their interest in the

   fractional unit to their family LLC.

          qqqqq) Plaintiff John Egle is a citizen of the State of Louisiana. Pursuant to a uniform

   Purchase Contract signed in 2005, Egle Plaintiff paid $190,000.00 to the seller Ritz Carlton

   Development Company, and obtained title to Residence Interest No. 7 consisting of an undivided

   1/12 interest in Residence No. 2302 of the Aspen Highlands Condominiums.

          rrrrr)   Plaintiff Darryl Rosen is a citizen of the State of Illinois. In 2004, Rosen Plaintiff

   paid $228,000.00 to the seller Ritz Carlton Development Company and obtained title to

   Residence Interest No. 3 consisting of an undivided 1/12 interest in Residence No. 8212 of the

   Aspen Highlands Condominiums.

          sssss) Plaintiff Michael A. Capasso is a citizen of the State of New York. In 2007,

   Capasso Plaintiff paid $612,000.00 to the seller Donald Garlikov, and obtained title to an

   undivided 1/12 interest in Residence No. 2410 of the Aspen Highlands Condominiums. The

   interest is described in weeks.

          ttttt)   Plaintiff Jeffrey C. Bermant is a citizen of the State of California. In 2001,

   Bermant Plaintiff paid $250,000.00 to the seller Ritz Carlton Development Company and

   obtained title to Residence Interest No. 2 consisting of an undivided 1/12 interest in Residence

   No. 8308 of the Aspen Highlands Condominiums.


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              uuuuu) Plaintiff Rock Pile, LLC is a Minnesota limited liability company. Jeff Cowan is

   a citizen of the State of Minnesota and president of Rock Pile, LLC. Pursuant to a uniform

   Purchase Contract signed in 2011, Plaintiff paid $62,000.00 to the seller Ritz Carlton

   Development Company and obtained title to an undivided 1/12 interest in Residence No. 2304 of

   the Aspen Highlands Condominiums. The interest is described in weeks.

              B.       Defendants

               14.     Defendant Marriott Vacations Worldwide Corporation (“MVW”) 2 is a

   publicly traded Delaware corporation with its principal place of business at 6649 Westwood

   Boulevard, Orlando, Florida. MVW is the parent and/or an affiliate company of the other

   Defendants and was involved in and responsible for the wrongful conduct alleged herein.

   Marriott Vacations Worldwide Corporation or MVC are sometimes referred to herein as

   Marriott.

              15.      Defendant Marriott Ownership Resorts, Inc., d.b.a. Marriott Vacation Club

   International (“MVCI”) is a Delaware corporation, and a wholly owned subsidiary of Marriott.

   Its principal place of business is at 6649 Westwood Boulevard, Orlando, Florida, and it is

   authorized to do business in Colorado. MVCI was involved in and responsible for the wrongful

   conduct alleged herein.

              16.      Defendant Aspen Highlands Condominium Association, Inc. (“Association”) is

   a Colorado non-profit corporation that serves as the official “Owners Association” for Ritz

   Carlton Aspen Owners.




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       Abbreviated are repeated for ease of reference.

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          17.     Defendant Ritz-Carlton Management Company, LLC (“RC Management”) is

   another wholly owned MVW subsidiary, and a Delaware limited liability company. Defendant

   RC Management has a principal place of business at 6649 Westwood Boulevard, Suite 500,

   Orlando, Florida, and is authorized to do business in Colorado.

          18.     Defendant The Cobalt Travel Company, LLC (“Cobalt”) (formerly known as

   the Ritz-Carlton Travel Company, LLC) is a Delaware limited liability company, has a principal

   place of business at 6649 Westwood Boulevard, Suite 500, Orlando, Florida, and is authorized to

   do business in Colorado.

          19.     Defendant The Lion & Crown Travel Co., LLC (“L&C”) is a Delaware limited

   liability company formed in 2008 and is authorized to do business in Colorado. L&C is a wholly

   owned subsidiary of RC Development.

                               IV.     SOURCE OF FIDUCIARY DUTIES

          20.     As described below, there are multiple sources of fiduciary duties arising out of

   the documents governing the management, operation and use of the Ritz-Carlton Club, Aspen

   Highlands, including the Articles of Incorporation of Aspen Highlands Condominium

   Association, Inc., (“Articles”), the Declaration of Condominium for Aspen Highlands

   Condominium (“Declaration”), The Ritz-Carlton Management Company, LLC Management

   Agreement (Management Agreement), and the Ritz-Carlton Club Membership Program

   Affiliation Agreement, (“Affiliation Agreement”).

          A.      Aspen Highlands Condominium Association

          21.     The Association was created on December 9, 1999 upon filing with the Colorado

   Secretary of State the Articles of Incorporation of Aspen Highlands Condominium Association,


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   Inc. Amended and Restated Articles of Incorporation of Aspen Highlands Condominium

   Association, Inc. were filed with the Colorado Secretary of State on November 2, 2000.

           22.     According to the Amended Articles: “The primary purpose for which the

   Association is organized is to manage, administer, operate and maintain” the Aspen Highlands

   Condominiums.

           23.     Pursuant to Article V. of the Articles, the powers of the Association, include: “To

   operate, manage, administer, insure, repair, replace, reconstruct and improve the Condominium”

   (Article 5.1); “To operate, manage and administer the Plan of Fractional Ownership that may be

   created in the Condominium by the Declarant” (Article 5.2); “To contract for the management of

   the Condominium and to delegate to such contractor all powers and duties of the Association

   except such as are specifically required by the various Association Documents or Colorado law

   to have approval of the board of directors or the members of the Association” (Article 5.7); and,

   “To enter into agreements providing for the participation of Owners of Fractional Interests in

   those units committed to a Plan of Fractional Ownership in an exchange system or network of

   resorts allowing for reciprocal use of resort properties by owners of fractional ownership

   interests in the Condominium” (Article 5.11).

           24.     Defendant Association owed and owes fiduciary duties to buyers of Fractional

   Units, including Plaintiffs and Ritz Carlton Aspen Owners, including but not limited to a duty of

   loyalty and duty to enforce restrictive covenants set forth in the Declaration of Condominium for

   Aspen Highlands Condominiums.3 The scope of this fiduciary duty extends beyond the norm for

   condominium associations based on the delegation and assumption of authority over not just the

   3
     See, Woodward v. Board of Directors of Tamarron Association of Condominium Owners, Inc., 155 P.3d 621,624
   (Colo. App. 2007); Colorado Homes, Ltd. v. Loerch-Wilson, 43 P.3d 718, 722 (Colo. App. 2001).

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   common areas, but also the fractional units themselves.

          B.      Ritz-Carlton Management Company

          25.     On January 12, 2001, Defendants Association and RC Management, entered into

   a written agreement, designated “Management Agreement.” Pursuant to paragraph 2, captioned

   “Appointment and Acceptance of Agency,” the Association employed RC Management “to act

   on behalf of the Association and its members as the exclusive managing entity and to manage

   the daily affairs of the Condominium and the (Fractional Ownership Interest) Plan, and (RC

   Management) hereby agrees to so act.” (Emphasis added.) A copy of the Management

   Agreement is attached hereto as EXHIBIT A.

          26.     Pursuant to paragraph 4 of the Management Agreement, captioned “Delegation of

   Authority,” Association delegates to RC Management “all of the power and authority of

   (Association) to the extent necessary to perform (RC Management’s) duties and obligations

   under this agreement.” In addition, paragraph 4 provides: “(RC Management), on behalf of

   and at the expense of (Association), to the exclusion of all other persons including the

   (Association) and its members, shall have all the powers and duties of the Executive Board

   as set forth in the Declaration and the bylaws of the (Association) (except such thereof as are

   specifically required to be exercised by its directors or members), and it shall perform, by way of

   illustration and not limitation, (the services set forth in paragraphs 4(A) through 4(V) . . . .”

   (Emphasis Added.)

          27.     Paragraph 4(A) of the Management Agreement provides RC Management with

   the exclusive authority to “Hire, pay, supervise and discharge all persons necessary to be




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   employed in order to properly manage, maintain, administer and operate the Condominium and

   (Fractional Ownership Interest) Plan.”

          28.      Paragraph 4(F) of the Management Agreement provides RC Management with the

   exclusive authority to “Maintain the (Association’s) financial record book, accounts and other

   records, and as necessary, issue certificate of account to Owners and their Mortgagees . . . .”

          29.      Paragraph 4(H) of the Management Agreement provides RC Management with

   the exclusive authority to “Prepare the itemized annual budget for the (Association) or revisions

   to the budget, or a combination thereof, (that RC Management) determines necessary for

   submission to the Executive Board.”

          30.      Paragraph 4(I) of the Management Agreement provides RC Management with the

   “authority and responsibility to maintain and replace the personal property within the Common

   Elements and the (Fractional Units), and to determine the maintenance fee, proration of taxes,

   and other common expenses applicable to those Common Elements and (Fractional Units), as

   defined in and provided for in the Declaration”.

          31.      Paragraph 4(J) of the Management Agreement provides RC Management with the

   exclusive authority to “Receive and deposit all funds collected from the Owners, or otherwise

   accruing to the Association, in a special account or accounts of (RC Management) . . . .”

          32.      Paragraph 4(L) of the Management Agreement provides RC Management “shall

   have sole authority to promulgate and amend rules and regulations for the (Fractional Units) and

   Limited Common Elements of the (Fractional Units) subject to the (Fractional Unit) Directors to

   revise, repeal or modify such amended rules and regulations and subject to the provisions of the

   Declaration.”


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          33.     Paragraph 4(N) of the Management Agreement provides RC Management with

   the authority to “Retain and employ such professionals and such experts whose services may be

   reasonably required to effectively perform its duties and exercise its powers hereunder, and to

   employ same on such basis as it deems appropriate.”

          34.     Perhaps most importantly, Paragraph 4(S) of the Management Agreement

   provides RC Management with the authority to “Engage a Program Manager through an

   affiliation agreement, who shall manage and administer the reservation procedures and exchange

   program for the Ritz-Carlton Club Membership Program (the ‘Membership Program’) through

   which Owners of Residence Interests reserve the use of accommodations at a Club as defined in

   and pursuant to The Ritz-Carlton Club Membership Program Reservation Procedures

   (‘Reservation Procedures’). The Program Manager shall have the broadest possible delegation of

   authority regarding administration of the Reservation Procedures . . . . RC Management on

   behalf of (the Association shall assess the Owners of (Fractional Units) the reasonable cost (as

   determined by the Program Manager) of operating such Reservation Procedures, which cost shall

   be included as part of Club dues.”

          35.     Paragraph 14 of the Management Agreement provides that RC Management

   “shall receive an annual net fee, free from charges and expenses” of Six Hundred Dollars ($600)

   per Residence Interest from the Owners of the (Fractional Units) . . .”

          36.     Based upon these and other terms of the Management Agreement and also by

   operation of law, RC Management is the agent of the Association and Fractional Unit Owners,

   including Plaintiffs and Ritz-Carlton Aspen Owners, and as such, owes the Association,

   Plaintiffs and Ritz-Carlton Aspen Owners fiduciary duties, including the duties of loyalty,


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   avoiding self-dealing, and to enforce the restrictive covenants set forth in the Declaration of

   Condominium for Aspen Highlands. These fiduciary duties also flow from the fact RC

   Management was given control over the Fractional Units.

          37.     Based upon the high degree of control over Plaintiffs’ and Ritz-Carlton Aspen

   Owners' Fractional Units arising from its authority as set forth in the Management Agreement,

   RC Management owes Plaintiffs and Ritz-Carlton Aspen Owners fiduciary duties, including a

   duty of loyalty, duty to avoid self-dealing, and duty to enforce the restrictive covenants set forth

   in the Declaration of Condominium for Aspen Highlands.

          C.      The Cobalt Travel Company

          38.     Defendant Cobalt entered into a four party agreement titled “The Ritz-Carlton

   Club Membership Program Affiliation Agreement” (“Affiliation Agreement”) with the Ritz-

   Carlton Development Company (“RC Development”) (the seller of the fractional interests at

   issue, a wholly owned subsidiary of MVW, and the sole manager and member of Defendants RC

   Management and Cobalt) and Defendants RC Management and the Association. Pursuant to the

   Affiliation Agreement, the Ritz-Carlton Club, Aspen Highlands and the purchasers of Fractional

   Units including Plaintiffs and Ritz-Carlton Aspen Owners, became affiliated with and members

   of the Ritz-Carlton Membership Program.

          39.     Paragraph 1.2 of the Affiliation Agreement provided: “By acceptance of a

   conveyance of a Residence Interest at the Club . . . each Member is deemed to have consented to

   the terms and conditions of this Agreement and to have further consented to the appointment of

   the Members Association as the authorized representative to act on behalf of the Members with

   respect to the provisions of this Agreement. Whenever the Members Association’s


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   acknowledgment, consent, understanding and/or agreement is stated or implied in this

   Agreement, such acknowledgment, consent, understanding and/or agreement shall be deemed to

   also have been given by the Board of Directors, if applicable, and each Member.”

          40.     Pursuant to the terms of the Affiliation Agreement, Defendant Cobalt is the

   Program Manager of the Ritz-Carlton Club Membership Program and also operates the

   reservation system through which Ritz-Carlton Aspen Owners obtain use of their allotted number

   of days at the Ritz Aspen Highlands and obtain access to the sister Ritz-Carlton Destination

   Clubs in the Ritz-Carlton Club Membership Program. The Affiliation Agreement provides: “The

   Program Manager may, in its sole discretion, elect to affiliate other locations with the

   Membership Program as Member Clubs or Associated Clubs from time to time. Neither the

   Developer, Members Association, nor Club Manager shall be entitled to participate in or

   consent to the Program Manager’s decision in this regard.” (Emphasis added.) A copy of the

   Affiliation Agreement is attached hereto as EXHIBIT B.

          41.     Based upon the terms of the Management Agreement and the Affiliation

   Agreement, Cobalt is the agent or subagent of the Association and Fractional Unit owners,

   including Plaintiffs and Ritz-Carlton Aspen Owners, and as such, owes the Association,

   Plaintiffs and Ritz-Carlton Aspen Owners fiduciary duties, including a duty of loyalty and duty

   to avoid self-dealing.

          42.     Based upon the high degree of control over Plaintiffs’ and Ritz-Carlton Aspen

   Owners’ Fractional Units arising from its authority as set forth in the Affiliation Agreement,

   Cobalt owes Plaintiffs and Ritz-Carlton Aspen Owners fiduciary duties, including a duty of

   loyalty and duty to avoid self-dealing.


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          43.     As described herein, Defendant Cobalt, in violation of its fiduciary duties to

   Plaintiffs and Ritz-Carlton Aspen Owners, and aided and abetted in said fiduciary duty violations

   by the other Defendants, entered into an Affiliation Agreement with L&C, which allows some or

   all of the over 400,000 members of Defendant MVW’s Marriott Vacation Club who are able to

   acquire sufficient points in the Marriott Vacation Club Destinations system, to use the Fractional

   Units at the Ritz Aspen Highlands. These breaches of fiduciary duty caused a great diminution in

   the value of Plaintiffs and Ritz-Carlton Aspen Owners’ Fractional Units, and unjustly enriched

   the other Defendants, including MVW, MVCI, RC Management and Cobalt at the expense of

   Plaintiffs and Ritz-Carlton Aspen Owners.

          44.     MVW directly, and indirectly through wholly owned subsidiaries, exerted control

   over Ritz-Carlton Club, Aspen Highlands and the other Defendants, because, inter alia: 1)

   MVW’s lawyers drafted the Management Agreement that provided its wholly owned subsidiary,

   RC Management full control of the operation of the Association and the Association Board at the

   Ritz-Carlton Club, Aspen Highlands; 2) RC Management and Cobalt were shell companies

   serviced by persons technically employed by MVW and/or MVCI; 3) the costs and revenues

   generated in connection with Ritz-Carlton Club, Aspen Highlands by MVW, MVCI, RC

   Management and Cobalt were accounted for in MVW’s consolidated financials; 4) employees

   providing services to MVCI, RC Management, and Cobalt were treated as MVW employees.

          45.     Each and all of the Defendants (directly and/or indirectly through individual

   agents, representatives, employees, principals, officers, directors and members) (a) actively or

   passively participated in the conduct, acts and omissions alleged herein, (b) materially assisted,

   aided, abetted and/or conspired with one or more other Defendants in committing the conduct,


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   acts, and omissions alleged herein, (c) purposely, knowingly, recklessly, or negligently planned,

   directed, implemented, furthered, and/or consented to conduct, acts and omissions alleged herein,

   and/or (d) is directly, vicariously, jointly, and/or severally liable for the conduct, acts, and

   omissions alleged herein.

          46.     Each of the Defendants (a) are the agents, representatives, alter egos, and/or

   instrumentalities of their respective principals or controlling entities, (b) have interlocking or

   overlapping directors and/or officers with their respective principals or controlling entities, (c)

   are undercapitalized and/or spurious or disregard the corporate form, (d) and for which “piercing

   the corporate veil” is or may be necessary and appropriate to prevent injustice and inequity to

   Plaintiffs and Ritz-Carlton Aspen Owners.

          47.     On July 17, 2012, Ms. Eveleen Babich, General Manager of Defendant Cobalt

   wrote Plaintiffs and Ritz-Carlton Aspen Owners a letter (on Ritz-Carlton Destination Club

   letterhead), stating that “Based on the Ritz-Carlton Destination Club member feedback,

   additional benefits and experiences will be available through a new affiliation with Marriott

   Vacation Club Destinations . . . Affiliation will extend to you the opportunity to deposit your

   Reserved Allocation on an annual basis. Once you deposit, the following will be available for

   you: . . . Secure any of the 51 worldwide Marriott Vacation Club Resorts . . .” A copy of the July

   17, 2012 Letter from Eveleen Babich is attached hereto as EXHIBIT C.

          48.     Eveleen Babich’s July 17, 2012 letter did not specify whether this proposed

   affiliation would allow the 400,000 Marriott Vacation Club members to access the Ritz-Carlton

   Club locations and in fact assured Ritz-Carlton Aspen Owners that “nothing about the Home

   Club Membership…has changed” as a result of this affiliation.


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           49.      This announcement proposing a new affiliation agreement with Defendant

   MVW’s Marriott Vacations Club Destinations program generated extreme concern amongst the

   various “member controlled” Boards of Directors of the various Ritz-Carlton Destination Clubs.

   For instance, in a letter dated August 3, 2012, the Association Board of the Ritz-Carlton Club-St.

   Thomas wrote to its members:

                    We have been in frequent communications with each other and the
                    Presidents of the other RCDC Clubs since this announcement. Our general
                    but preliminary consensus regarding the ‘evolution’ of the RCDC brand as
                    described in Eveleen Babich’s letter of July 17th is that we are concerned
                    that this may not be an enhancement to our Membership Interests. We all,
                    as members, invested in the Ritz-Carlton brand!

   A copy of the August 3, 2012 Letter from the association board of the Ritz-Carlton Club-St.

   Thomas is attached hereto as EXHIBIT D.

           50.      On August 10, 2012, the Association Board of the Ritz-Carlton Club-Jupiter

   wrote to its members:


                    We were disappointed as to how Ritz Carlton, Marriott Vacations
                    Worldwide Corporation and Cobalt Travel Company, LLC (‘RCDC
                    Parties’) separately and collectively chose to characterize these matters
                    they have defined as the “evolution of the RCDC brand.” No input from
                    your Board of Directors or, to our knowledge, any of the other RCDC
                    Club Boards was ever solicited by these companies while they determined
                    these significant changes to the RCDC system in which we all own a
                    Membership Interest.

           A copy of the August 10, 2012 Letter from the association board of the Ritz-Carlton

   Club-St. Thomas is attached hereto as EXHIBIT E. 4


   4
     Ultimately the announced intention to affiliate the Marriot Vacation Club Destinations program, with its over
   400,000 members, caused the Condominium Association Boards of Ritz-Bachelor Gulch and Ritz-Jupiter Clubs to
   put a vote to their members as to whether to terminate their management agreements with RC Management and
   Cobalt. In 2013 and 2014, respectively, both of these clubs’ memberships voted to terminate the management
   agreements with Defendant RC Management, and both clubs have since left the system.

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          51.    On August 17, 2012, Lee Cunningham, the Executive Vice President and Chief

   Operating Officer of Defendant MVCW, wrote a letter (on Ritz Carlton Destination Club

   letterhead) to all Ritz Carlton Destination Club Members, including Plaintiffs, “to provide you

   further information regarding certain changes announced on July 17th to the Lion and Crown

   Travel Company and The Ritz-Carlton Destination Club system” and to assure the Ritz-Carlton

   Vacation Club members that “nothing… has changed or will change as a result of the

   announcement.” The August 17th notice also stated that the original affiliation notice on July

   17th had generated questions from the members, which would be addressed in an upcoming

   Webinar on August 28, 2012. A copy of the August 17, 2012 Letter from Lee Cunningham is

   attached hereto as EXHIBIT F.

          52.    In the meantime, Defendant Association wrote a letter to Plaintiffs and Ritz

   Carlton Aspen Owners on August 17, 2012, notifying them that the Association board was

   working with MVW executives to better understand the proposed affiliation. The letter states that

   “[f]rankly, it has been our position that our members bought into a Ritz-Carlton brand and do not

   want that brand diluted. The Board has concerns that … the nature of our club will change by

   opening the club to MVW timeshare/points members who have a much lower cost of entry.”

          53.    The August 17th letter from the Association states that “[t]he Board is also

   concerned that there are specific provisions in our Association documents which the Board

   believes does not permit MVW to conduct a separate program as they currently intend.” A copy

   of the August 17, 2012 Letter from the Association is attached hereto as EXHIBIT G.




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           54.       One of the provisions that the Association was referring to is Section 19.8 of the

   Declaration of Condominium for Aspen Highlands Condominiums, entitled “Limit on

   Timesharing,” which states as follows:


                    Each Owner acknowledges that Declarant intends to create Fractional
                    Ownership Interests with respect to Tourist Accommodation Units within
                    Aspen Highlands Condominiums and Aspen Highlands Village. Other
                    than the right of Declarant” (sic) or a Successor Declarant and their
                    respective officers, agents, employees, and assigns to create Fractional
                    Ownership Interests in accordance with Article 23 of this Declaration
                    (specifically including, without limitation, the Plan of Fractional
                    Ownership), no Unit shall be used for the operation of a timesharing,
                    fraction-sharing, interval ownership, private residence club,
                    membership program, vacation club, exchange network or system or
                    similar program whereby the right to exclusive use of the Unit is
                    alternated or scheduled among participants in the program on a fixed or
                    floating time schedule over a period of years whether by written,
                    recorded agreement or otherwise. (Emphasis added.)

   A copy of the Declaration of Condominium for Aspen Highlands Condominiums is attached

   hereto as EXHIBIT H. 5

           55.      On August 26, 2012, Juan Pablo Cappello, a partner at Greenberg Traurig and a

   Ritz-Carlton Aspen Owner, sent an email to Lee Cunningham, which was copied to the Board of

   the Association, initially noting Mr. Cunningham’s failure to disclose in his August 17, 2012

   letter (Exhibit F) his dual role as Executive Vice President and Chief Operating Officer of both

   the Ritz-Carlton Destination Club and the Marriott Vacations Worldwide Corporation. Mr.

   Cappello further informed Mr. Cunningham that his August 17, 2012 letter to the Ritz-Carlton

   Destination Club membership “fail(ed) to acknowledge the underlying issue which all RCDC


   5
     The Declaration for Aspen Highlands Village which created the “Master Association”, and which also govern the
   Ritz Carlton Aspen Owners Fractional Units, sets forth a similar use restriction, labeled “No Timeshare” at Section
   8.25.

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   members need to understand. The Marriott Vacations Worldwide Corp. has a huge incentive to

   dilute the RCDC brand to further its greater interest in selling more Marriott Vacation Club

   memberships. The growth of Marriott Vacations Worldwide Corp. as a public company is it (sic)

   tied with the growth of the sales of more and more Marriott Vacation Club memberships.” Mr.

   Cappello concluded, “Unless the Marriott Vacations Worldwide Corp. changes its attitude and

   begins to address the clear conflict of interest that will destroy the value of our investment, I

   continue to encourage the RCDC Aspen Highlands to explore exiting from the Marriott

   relationship and cancel all management contracts. A copy of the August 26, 2012, email from

   Juan Pablo Cappello is attached hereto as EXHIBIT I.

             56.     On August 26, 2012, the then President of the Association, Jay A. Neveloff 6,

       responded to Mr. Cappello’s email stating, “It captures my sentiment quite well. I’d like your

       permission to share your email with the Presidents of the other owner controlled Ritz-Carlton

       Clubs, who are each making the points you did, albeit not quite as eloquent as you did.”

             57.     On August 30, 2012, the Ritz-Carlton Destination Club released a new

   “Frequently Asked Questions for Members” pamphlet to Plaintiffs and Ritz Carlton Aspen

   Owners, which stated that “Marriott Vacations Worldwide intends to sell most of its remaining

   unsold Ritz-Carlton Club inventory through the Marriott Vacation Club Destinations program.” 7




   6
     A partner at the New York law firm of Kramer Levin Naftalis & Frankel, and described on the firm website as “a
   nationally recognized transaction attorney who represents a broad range of clients in connection with the
   development, ownership and financing of real estate projects, including many high-profile super luxury and mixed-
   use, commercial, retail and residential projects in New York City and throughout the country. “

   7
      The August 28, 2012 pamphlet stated: “Marriott Vacations Worldwide is paying club dues on these unsold
   fractions in excess of eleven million dollars a year, plus continues to subsidize the operating costs at a number of
   clubs for an additional four million dollars a year.”

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   A copy of the August 30, 2012 pamphlet “Frequently Asked Questions for Members” is attached

   hereto as EXHIBIT J.

          58.     The August 30, 2012 “Frequently Asked Questions for Members” also states:

   “Given the current state of the luxury fractional market and the market’s unlikely recovery in the

   near term, selling this inventory through the Marriott Vacation Club Destinations program

   relieves the significant financial burden of this unsold inventory in a balanced way . . .” and

   “Marriott Vacations Worldwide is paying club dues on these unsold fractions in excess of eleven

   million dollars a year, plus continues to subsidize the operating costs at a number of clubs for an

   additional four million dollars a year.”

          59.     In September 2012, the Association retained Philip A. Gosch of the Denver law

   firm of Brownstein Hyatt Farber Schreck to analyze whether the Aspen Club governing

   documents allowed the proposed affiliation with the Marriott Vacation Club. On September 21,

   2012, Mr. Gosch forwarded a nine page Memorandum (“Gosch Memorandum”) styled:

   “Analysis with respect to use of Tourist Accommodation Units by members of the Marriott

   Vacation Club who are not also members of the Ritz Carlton Membership Program”. Mr. Gosch

   concluded that “The Declaration is clear in its prohibition against any timeshare or exchange use

   of the Tourist Accommodation Units other than the RC Program specified in Article 23 of the

   Declaration . . .” Mr. Gosch further informed the Association that in addition to Section 19.8 of

   the Declaration, “There are numerous provisions in the Declaration and the Colorado Disclosure

   Statement, the City of Aspen Disclosure Statement and the New York Condominium Offering

   Plan (the “Disclosure Documents”) that support the position that the MVC usage is prohibited.”

   A copy of the September 21, 2012 Memorandum is attached hereto as EXHIBIT K.


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   On October 2, 2012, the Association issued another letter to Plaintiffs and Ritz Carlton Aspen

   Owners that purported to update them on the discussions with MVW on this pressing issue. The

   letter revealed, inter alia, that “MVW has been advised that it is the view of the Board and its

   counsel, that in order for MVW to move towards the points based system it is planning on, that

   the underlying Association documents would need to be revised as it is in our view that the

   documents prohibit what MVW is planning.” A copy of the October 2, 2012 Letter from the

   Association is attached hereto as EXHIBIT L. (Emphasis added.)

          60.    While the Association was conducting its discussions with MVW, on November

   5, 2012, the President of the Board of the Ritz-Carlton Club, Bachelor Gulch, Michael Mullenix,

   wrote a letter to Mr. Steven Weisz, President and CEO of MVW and Lee Cunningham,

   Executive Vice President and COO of MVW, stating:

                 I am writing on behalf of the Board of Directors to continue our dialogue
                 about the proposed affiliation of Ritz Carlton Bachelor Gulch Members
                 with Lion and Crown in 2013 and beyond and to request that such
                 proposed affiliation be canceled. At a minimum, the proposed affiliation
                 should be delayed until January 1, 2014 and the status quo maintained
                 until that time . . . The Board and membership of the Club have serious
                 concerns that the Club’s affiliation with Lion and Crown is contrary to the
                 Club’s governing documents and, in any event, will have permanent
                 negative impacts on the club, including most importantly to the value of
                 our residence units…

          61.    The letter from the Board of the Ritz-Bachelor Club, Gulch to Steven Weisz and

   Lee Cunningham ended as follows: “Please advise no later than Thursday, November 15, 2012,

   whether MVW will agree to this requested delay of affiliation. If MVW will not voluntarily

   agree to this delay and insists on permitting affiliation with Lion and Crown now, the Board may

   have no alternative but to enforce the Club Declarations prohibition on timesharing through

   formal legal action. We do not believe that should be necessary given our aligned interests on

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   this issue.” A copy of the November 5, 2012 Letter from the Board of the Ritz-Bachelor Gulch to

   Steven Weisz and Lee Cunningham is attached hereto as EXHIBIT M.

          62.    On November 21, 2012, Mr. Gosch, on behalf of the Association, sent a “cease

   and desist” letter addressed to MVW, Cobalt and The Ritz-Carlton Development Company,

   LLC, stating, inter alia, “Any practice of allowing the use of the Tourist Accommodation Units

   at the Aspen Highlands Condominiums by the MVC Members would violate the express terms

   of the Declaration and the disclosure documents given to purchasers of units at the Aspen

   Highlands Condominiums. Further, although MVW, the HOA Manager, the Program Manager

   and the developer . . . may attempt to portray these actions as permitted by the Affiliation

   Agreement, the Reservation Procedures and the HOA Management Agreement, we disagree with

   this interpretation, and in any event the Declaration is clearly controlling under Colorado law.

   Also, ancillary contracts of adhesion which were executed when the developer controlled the

   Association (such as the HOA Management Agreement and the Affiliation Agreement) are

   terminable by the Association under Colorado law once control of the Association passes (as it

   has at the Aspen Highlands Condominiums) and it reasonably and logically follows that any such

   terminable agreements would in no event supercede the express terms of a recorded declaration.”

   A copy of the November 21, 2012, letter is attached hereto as EXHIBIT N.

          63.    The November 21, 2012, cease and desist letter further states “In addition to

   violating the Declaration, any practice of allowing the use of the Tourist Accommodation Units

   at the Aspen Highlands Condominium by the MVC Members may constitute, among other

   things, one or more breaches of fiduciary duties of the HOA Manager to the Association under

   the HOA Management Agreement as a result of self-dealing among the HOA Manager, the


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   Program Manager, the Marriott licensor entity and their respective affiliates to the detriment of

   the Association and its members. By permitting MVW and/or the Program Manager to utilize the

   Tourists Accommodation Units in clear violation of the Declaration, the HOA Manager would be

   enriching its affiliates and the Marriott licensor entity by creating an attractive offering for the

   MVC members, which would increase sales and license fees under Marriott’s arrangement with

   MVW, all at the expense and burden of the Association and its members.” Ex. N, page 2.

          64.     On or about December 22, 2012, the Association forwarded the cease and desist

   letter to its members, stating, inter alia, “As a result of all the items mentioned regarding the

   Destination Club, the lack of communication and discussions with MVW and after deep

   consideration, your Board of Directors have determined that the Aspen Highlands Members are

   essentially having our program and purchase rights reduced. Comments from a significant

   number of Members are consistent with this position. In order to fully state our position, the

   Aspen Highlands Board of Directors through its’ counsel, has delivered a Cease and Desist

   Letter to Marriott Vacation Worldwide Corporation, The Cobalt Travel Company and the Ritz

   Carlton Company, LLC on November 21, 2012.” The Association’s letter to the members further

   stated, “The Members of Aspen Highlands believe there are numerous legal grounds which make

   this program change an action which cannot be undertaken.” The letter concluded by asking for

   comments from members and a promise to “keep you informed as additional information is

   available.”

          65.     The written comments received from Members in December 2012, as solicited by

   the Board, were overwhelmingly in favor of the position the Board, as set forth in the November

   21, 2012 cease and desist letter. As an example, “I am with the Board completely. Any MVW


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   involvement is a dilution of our interests in the Ritz Carlton and, in my view, is a breach of the

   representations provided to us when we purchased the fractional interests. I am a commercial

   litigator in New York and am prepared to litigate if necessary.”

          66.     Between April 5, 2013 and April 8, 2013, the Association wrote letters to all

   Plaintiffs and Ritz Carlton Aspen Owners that:

                  Positive discussions were held today between the Board of Directors and
                  representatives of the Ritz/Marriott including Lee Cunningham, COO of
                  the Ritz-Carlton Destination Club. Ritz Marriott representatives agree
                  that unless a majority of Aspen Highlands Members (excluding the
                  Marriott interests and Members not in good standing) vote in favor of
                  doing so, Ritz/Marriott will not include Aspen Highlands in the
                  Marriott Vacation Club affiliation/exchange/point program.

                  Discussions continue on other important issues affecting Aspen
                  Highlands, including alternatives for divesting the current inventory of
                  Aspen Highlands units owned by Ritz/Marriott. Such inventory will not
                  be sold through the Marriott Vacation Club trust without an
                  additional vote of the Members.

   Copies of letters dated April 5, 2013 and April 8, 2013 from the Association to Ritz Carlton

   Aspen Owners are attached hereto as EXHIBIT O. (Emphasis added)

          67.     Following the April 5, 2013 announcement that no affiliation would occur “unless

   a majority of Aspen Highland Members voted in favor of doing so,” the Board again received

   numerous written comments from the members, which again overwhelming opposed the

   affiliation and further supported the Board’s promise of a membership vote on the issue of the

   proposed Marriott Vacation Club affiliation.

          68.     On May 14, 2013, a letter was sent by The Ritz Carlton Destination Club, signed

   by Lee Cunningham, to all Ritz Carlton members, stating “regarding other potential affiliations,

   we want to assure you that a Ritz Carlton Club affiliation with Marriott Vacation Club


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   Destinations will not take place unless there is an affirmative vote of each Club’s Membership.”

   (Emphasis added).

             69.    Discovery produced in fall 2016 by the Association revealed that initially the

   Board sought to follow through on its promise to hold a vote of the membership. Early drafts of

   proposed communications to members discussed the promised vote, including draft FAQs, that

   stated:

             “Q: Will the Ritz-Carlton Club, Aspen Highlands be available to Marriott Vacation Club
             Destinations program members?

             A: If the Aspen Highlands Members vote that they would like to affiliate with the
             Marriott Vacation Club Destinations exchange program and the subsequent affirmative
             vote to change the condominium association documents are approved, then Marriott
             Vacation Club Destinations program members will be permitted to reserve a residence in
             the Ritz-Carlton Club, Aspen Highlands to the extent there is inventory available to
             exchange.”

             70.    But then Defendants began to back away from the promised majority vote.

   Another draft of a letter proposed to be sent to the membership from Lee Cunningham states:

   “Based on some Member feedback, it is clear that there is concern about opening The Ritz-

   Carlton Club, Aspen Highlands to MVCD members through affiliation, which is why we and

   your Board of Directors have agreed to allow Aspen Members to provide input before any final

   decisions are made. If a majority (50% plus 1) of the Aspen Members (not including RCDC

   developer owned fractional interests) surveyed responds affirmatively that they want Members

   of the Ritz-Carlton Club, Aspen Highlands to have the ability to voluntarily exchange through

   the MVCD program and MVCD members to have the ability to exchange into the Ritz-Carlton

   Club, Aspen Highlands, we will move forward to provide that opportunity to all Aspen Members




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   on an individual basis. If we do not hear affirmatively back from a majority of the Aspen

   membership, then this exchange opportunity will not be made available to the Aspen Members.”

          71.    The Association Board members knew that this communication was deceptive.

   On June 4, 2013, after reviewing an updated version of the draft letter, Board Member Gerald

   Marsden objected, “it should be made clear that the FAQs were prepared by Marriott/Ritz . . .

   Also we decided on a vote not a survey.” Further, on June 5, 2013, another Board Member, Tyler

   Oliver, stated in an email to his fellow Board Members, “I am not as worried about what (the

   proposed communications to the Members) says as what it doesn’t say. After reading this the

   program doesn’t sound too bad, but there is more to the story. We have concerns about the points

   required of a Marriott owner staying at the Ritz. Also, by associating with the Marriott Points

   system there may be a negative image diluting the brand and real estate value.”

          72.    On November 19, 2013, the Association, in concert with the Marriott Defendants,

   sent a deceptive letter to the Aspen Members stating that it is conducting a “survey,” “the sole

   purpose of which is to understand the Aspen Highlands Member’s interest in this voluntary

   exchange program, which would allow Members to exchange a week of their reserved allocated

   time for points within the Marriott Vacation Club Destinations Program.” This letter fails to

   mention that this survey was to be a substitute for the promised “vote,” and that Defendants were

   breaking the promise made on April 5, 2013 that “unless a majority of Aspen Highlands

   Members (excluding the Marriott interests and Members not in good standing) vote in favor of

   doing so, Ritz/Marriott will not include Aspen Highlands in the Marriott Vacation Club

   affiliation/exchange/point program.”




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          73.    Following receipt of the survey in December 2013, Jay Neveloff, who had at the

   end of 2012 ended his tenure as the Association President, and who was no longer on the

   Association Board, wrote the new Board President, Randal Mercer, that “I intend to respond to

   the poll but think it is appropriate for the Board to write to the members to raise concerns ASAP

   before they take the poll.” When Mr. Mercer replied disingenuously that “I thought the

   connection was pretty clear regarding the collaborative effort of the board on this one”, Mr.

   Neveloff immediately responded “There was no discussion as to the negatives - that our

   members swap will be used by hordes of time share owners, that are likely to come for shorter

   stays meaning wear and tear and clogging up the pipeline for embers who want shorter stays.

   Also, that the redemption value of points may change. Plus others.” Mr. Mercer’s replied,

   “Wow. If you got that out of the letter - we have problems.” Mr. Neveloff immediately replied,

   “I didn’t get that from the letter. That’s my point. The board should be describing both sides of

   the issue, not just editing what MVCI wants. Really!”

          74.    No vote of the Members of Ritz-Aspen Highlands, including by Plaintiffs or Ritz

   Carlton Aspen Owners, in favor of allowing the Defendants to include Ritz-Aspen Highlands in

   the Marriott Vacation Club affiliation/exchange/point program ever occurred. Likewise, no vote

   of the Members of Ritz-Aspen Highlands in favor of allowing the Defendants to sell their unsold

   inventory of Aspen Highlands units through the Marriott Vacation Club trust ever occurred.

          75.    However, in April 2014, Defendant Association, acting in concert with and/or

   aided and abetted by the other Defendants, including MVW, RC Management, and Cobalt,

   unilaterally decided to include the Ritz-Carlton Club, Aspen Highlands Fractional Plan in the

   Marriott Vacation Club affiliation/exchange/points program; and agreed and conspired with


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   Defendants to have the Association breach its fiduciary duties to Plaintiffs and Ritz Carlton

   Aspen Owners by, inter alia, 1) agreeing to act and acting in a disloyal manner towards Plaintiffs

   and Ritz Carlton Aspen Owners by favoring the interests of the Defendants over the interests of

   the Plaintiffs and by including the Ritz-Carlton Club, Aspen Highlands Fractional Plan in the

   Marriott Vacation Club affiliation/exchange/points program; and 2) agreeing not to and/or failing

   to enforce the Declaration, including the covenant against further timesharing, as set forth in

   paragraph 19.8 of the Declaration.

           76.     In April 2014, the Association wrote a letter to all Plaintiffs and Ritz Carlton

   Aspen Owners updating them on “your Board of Directors’ efforts on your behalf . . .” On page

   2 of the letter, the Board dropped a bombshell under the heading “Marriott Vacation Club

   Destination Exchange Program: In response to the Members’ wishes - both past and present, the

   Board has crafted a very unique program which would allow Aspen Club Members to exchange

   a week of their reserved allocated time for points within the Marriott Vacation Club Destinations

   exchange program.” A copy of the April 2014 Letter from the Association to Plaintiffs and Ritz

   Carlton Aspen Owners is attached hereto as EXHIBIT P.

           77.     Plaintiffs allege that sometime in 2014, in contravention of the promises made to

   Ritz Carlton Aspen Owners on April 5 and April 8, 2013 (that unless a majority of Aspen

   Highlands Members vote in favor of doing so, Ritz/Marriott will not include Aspen Highlands in

   the Marriott Vacation Club affiliation/exchange/point program), Defendants MVW, RC

   Management and Cobalt, pursuant to an agreement it made with Defendant Association,

   affiliated    the Ritz   Carlton   Club,   Aspen    Highlands   with   Marriott   Vacation   Club

   affiliation/exchange/points program.


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          78.     Plaintiffs allege on information and belief that sometime in 2014, in contravention

   of the promises made to Ritz Carlton Aspen Owners on April 5, 2013 (that Defendants’ unsold

   inventory of fractionals “will not be sold through the Marriott Vacation Club trust without an

   additional vote of the Members”), Defendant MVW, pursuant to an agreement it made with

   Defendant Association not to enforce Section 19.8 of Declaration of Condominium for Aspen

   Highlands Condominiums, sold a portion of its remaining unsold Ritz-Carlton Club inventory to

   the Marriott Vacation Club trust.

          79.     The actions of the Defendants described above were knowingly made in violation

   of their respective duties of loyalty owed to Plaintiffs and, Ritz Carlton Aspen Owners as well as

   in violation of Section 19.8 and other provisions of the Declaration of Condominium for Aspen

   Highlands Condominiums, as well as the promises made to Plaintiffs and Ritz Carlton Aspen

   Owners between April 5 and April 8, 2013 that unless a majority of Aspen Highlands Fractional

   Unit owners and members vote in favor of doing so, Defendants would not include Ritz Carlton

   Club, Aspen Highlands or the Plaintiffs’ and Ritz Carlton Aspen Owners’ Fractional Units in the

   Marriott Vacation Club affiliation/exchange/point program. The actions described herein

   violated and/or aided and abetted the violation of Defendants’ fiduciary duties owed to Plaintiffs

   and Ritz Carlton Aspen Owners.

          80.     Now, approximately 400,000 Marriott Vacation Club members –– who paid a

   small fraction of the purchase prices and who pay approximately a third of the annual fees ––

   have access to luxury resorts that were formerly only available to Plaintiffs and Ritz Carlton

   Aspen Owners. Defendants have derived huge profits and/or cost savings through this affiliation,

   while devaluing Plaintiffs’ vested property interests. Worse yet, Plaintiffs have had to pay, in the


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   form of inflated annual maintenance fees, for the increased use and wear and tear resulting from

   the opening of the Ritz Carlton Club, Aspen Highlands to Marriott Vacation Club Members.

                                       V.      CAUSES OF ACTION

                                    FIRST CAUSE OF ACTION
          (Breach of Fiduciary Duty against Association, RC Management, and Cobalt)

          81.     Plaintiffs incorporate by reference the allegations contained in the preceding and

   subsequent paragraphs, as if fully set forth in this cause of action.

          82.     Defendants Association, RC Management, and Cobalt owed fiduciary duties to

   Plaintiffs and Ritz Carlton Aspen Owners arising both out of their agency (or sub-agency)

   relationship with the Plaintiffs and Ritz Carlton Aspen Owners, as well as by virtue of said

   Defendants’ high degree of control over Plaintiffs’ and Ritz Carlton Aspen Owners’ Fractional

   Units and had a duty to act with the utmost good faith and loyalty in the best interests of

   Plaintiffs and Ritz Carlton Aspen Owners.

          83.     These Defendants breached this duty by advancing their own interests and the

   interests of third parties, including the interests of MVW and MVCI, at the expense of Plaintiffs’

   and Ritz Carlton Aspen Owner’s interests, by agreeing to act and acting in a disloyal manner

   towards Plaintiffs and Ritz Carlton Aspen Owners and by favoring the interests of the

   Defendants over the interests of the Plaintiffs and Ritz Carlton Aspen Owners through inclusion

   of the Ritz-Carlton Club, Aspen Highlands Fractional Plan and the Plaintiffs’ and Ritz Carlton

   Aspen Owners’ Fractional Units in the Marriott Vacation Club affiliation/exchange/points

   program; and 2) agreeing not to and failing to enforce the Declaration, including the covenant

   against further timesharing, as set forth in paragraph 19.8 of the Declaration and/or by failing to

   act as a reasonably prudent fiduciary would have acted under the same or similar circumstances.

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            84.   Defendants Association and RC Management owed Plaintiffs and Ritz Carlton

   Aspen Owners a fiduciary duty that required them to, among other things, enforce the restrictive

   covenants of the Declaration, including Section 19.8 thereof, as well as section 8.25 of the

   Declaration for Aspen Highlands Village. These Defendants failed to enforce Section 19.8,

   Section 8.25 and other provisions, thereby breaching their fiduciary duty, by: (1) failing to

   enforce these restrictive covenant against timesharing, as set forth in Section 19.8 and Section

   8.25; and/or (2) imposing and/or conspiring with the other Defendants to impose the affiliation

   of the Marriott Vacation Club affiliation/exchange/points program with the Ritz-Carlton Club,

   Aspen Highlands Fractional Plan and the Plaintiffs’ and Ritz Carlton Aspen Owners/ Fractional

   Units,

            85.   Defendants Association, RC Management and Cobalt also owed Plaintiffs and

   Ritz Carlton Aspen Owners a fiduciary duty of loyalty arising both out of their respective agency

   (or sub-agency) relationship with the Plaintiffs and Ritz Carlton Aspen Owners, as well as by

   virtue of their high degree of control over Plaintiffs’ and Ritz Carlton Aspen Owners’ Fractional

   Units and Cobalt’s exclusive control of Plaintiffs and Ritz Carlton Aspen Owners’ rights under

   the appurtenant Ritz-Carlton Club Membership Program.

            86.   The fiduciary duties described herein required that Defendants Association, RC

   Management and Cobalt act in the best interests of Plaintiffs and Ritz Carlton Aspen Owners,

   which includes refraining from any actions that would unjustly enrich themselves or their

   affiliates at the expense of the value of the Fractional Units that Plaintiffs and Ritz Carlton Aspen

   Owners purchased. These Defendants breached that duty by, inter alia, imposing, allowing

   and/or conspiring with the other Defendants to impose the affiliation of the Marriott Vacation


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   Club affiliation/exchange/points program with the Ritz-Carlton Club, Aspen Highlands

   Fractional Plan and the Plaintiffs’ and Ritz Carlton Aspen Owners’ Fractional Units.

           87.     Defendants Association, RC Management and Cobalt breached these fiduciary

   duties by advancing their own interests and the interests of third parties, including the interests of

   MVW and MVCI, at the expense of Plaintiffs’ and Ritz Carlton Aspen Owners’ interests, in

   allowing the affiliation of the Marriott Vacation Club affiliation/exchange/points program with

   the Ritz-Carlton Club, Aspen Highlands Fractional Plan and the Plaintiffs’ and Ritz Carlton

   Aspen Owners / Fractional Units.

           88.     As a result of Defendants’ breach of fiduciary duties, Plaintiffs and Ritz Carlton

   Aspen Owners suffered damages, including the destruction of the value in their fractional units,

   in an amount to be proven at trial.

           89.     As a result of Defendants breach of fiduciary duties, Defendants profited at

   Plaintiffs’ and Ritz Carlton Aspen Owners’ expense. Defendants should be ordered to forfeit

   to Plaintiffs and Ritz Carlton Aspen Owners all profits Defendants received as a result of the

   conduct described herein; and that a constructive trust be imposed upon said profits for the

   benefit of Plaintiffs and Ritz Carlton Aspen Owners.

                                     SECOND CAUSE OF ACTION
                             (Constructive Fraud against All Defendants)

           90.     Plaintiffs incorporate by reference the allegations contained in the preceding, and

   subsequent paragraphs, as if fully set forth in this cause of action.

           91.     Defendants and each of them had a duty as fiduciaries to act honestly, with full

   disclosure and loyalty to the Plaintiffs as their principals.



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          92.     As described above, Defendants knew that the disclosures they made to Plaintiffs

   and other Members related to the affiliation proposed by the Marriott Defendants were

   misleading and failed to fully disclose material facts, including that: 1) the affiliation proposal

   violated multiple provisions of the Club Declaration, as outlined in the September 21, 2012

   Memorandum prepared by Philip Gosch, counsel for the Association; 2) that the governing

   documents, including the Club Declaration, required an affirmative vote of at least a majority of

   the members (i.e., required over 400 affirmative member votes); 3) that the Defendants, acting in

   concert, deceptively and without informing the members, substituted a misleading survey for the

   promised majority vote of the membership; and 4) on or about April 15, 2104, based on a mere

   plurality of member responses to the misleading survey, the Association secretly entered into an

   Affiliation Agreement with the Marriott Vacation Club, without even holding the promised vote,

   and without even informing the Members about the results of the misleading survey.

          93.     Had Plaintiffs known the truth, they would have taken steps to prevent the

   affiliation, including demanding the membership vote requiring that a majority of the Members

   approve affiliation (as promised in April 2013) or instituting appropriate legal proceedings, such

   as the filing of a derivative lawsuit against the Association’s Board to require that it enforce the

   prohibition use restrictions set forth in the Club Declaration.

          94.     By virtue of the misrepresentations and non-disclosure of the material facts

   described above and herein, Defendants afforded themselves the means by which to take undue

   advantage of Plaintiffs.




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           95.    Defendants conduct, including the misrepresentations and non-disclosure of the

   material facts described above and herein, tended to deceive, violate confidence and injure public

   interests.

           96.    As a result of the tendency of Defendants’ misrepresentations and non-disclosures

   of the material facts described above and herein to deceive, violate confidence and injure public

   interests, Plaintiffs suffered damages, including the destruction of the value in their fractional

   units, in an amount to be proven at trial

           97.    As a result of the tendency of Defendants’ misrepresentations and non-disclosures

   to deceive, violate confidence and injure public interests, Defendants have profited at Plaintiffs’

   expense and Defendants should be ordered to forfeit to Plaintiffs and Ritz Carlton Aspen Owners

   all profits Defendants received as a result of the conduct described herein; and that a constructive

   trust be imposed upon said profits for the benefit of Plaintiffs and Ritz Carlton Aspen Owners.

                                   THIRD CAUSE OF ACTION
       (Aiding and Abetting Breach of Fiduciary Duty and Constructive Fraud against All
                                         Defendants)

           98.    Plaintiffs and Ritz Carlton Aspen Owners incorporate by reference the allegations

   contained in the preceding, and subsequent paragraphs, as if fully set forth in this cause of action.

           99.    Defendants and each of them, including MVW, MVCI and L & C aided and

   abetted the breaches of fiduciary duty and constructive fraud committed by Defendants

   Association, RC Management and Cobalt.

           100.   As described above, Association, RC Management, and Cobalt owed fiduciary

   duties to Plaintiffs and Ritz Carlton Aspen Owners.




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          101.    As described above, Association, RC Management and Cobalt breached their

   fiduciary duties and committed fraud as to Plaintiffs and Ritz Carlton Aspen Owners.

          102.    Defendants, including MVW, MVCI and L & C knowingly aided and abetted and

   participated in the breaches of fiduciary duty and constructive fraud by, inter alia, participating

   in further timesharing (prohibited by, inter alia, Section 19.8 of the Declaration of Condominium

   for Aspen Highlands Condominiums and Section 8.25 of the Declaration for Aspen Highlands

   Village) and by participating in, intermeddling, forcing and otherwise improperly influencing the

   decision by Cobalt and the other Defendants to affiliate the Marriott Vacation Club and with the

   Ritz Carlton Club, Aspen Highlands and with Plaintiffs’ and Ritz Carlton Aspen Owners’

   Fractional Units, despite promises made to Plaintiffs and Ritz Carlton Aspen Owners that such

   affiliation would not occur without a vote by the Plaintiffs and Ritz Carlton Aspen Owners.

          103.    Defendants’ aiding and abetting the breach of fiduciary duties and constructive

   fraud alleged herein has caused damage to Plaintiffs and, Ritz Carlton Aspen Owners including

   the destruction of the value in their fractional units, in an amount to be proven at trial.

          104.    As a result of Defendants aiding and abetting of the breach of fiduciary duties and

   constructive fraud described herein, Defendants profited at Plaintiffs and Ritz Carlton Aspen

   Owners’ expense. Defendants should be ordered to forfeit to Plaintiffs and Ritz Carlton Aspen

   Owners all profits Defendants received as a result of the conduct described herein; and that a

   constructive trust be imposed upon said profits for the benefit of Plaintiffs and Ritz Carlton

   Aspen Owners.




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                                      FOURTH CAUSE OF ACTION
                                  (Conspiracy against All Defendants)

          105.    Plaintiffs incorporate by reference the allegations contained in the preceding and

   subsequent paragraphs, as if fully set forth in this cause of action.

          106.    Defendants, and each of them, conspired with the remaining Defendants’ scheme

   to commit the wrongful and unlawful conduct alleged herein.

          107.    As described in detail above, MVW, MVCI and L & C, in furtherance of their

   own financial gain, conspired with Defendants Association, RC Management and Cobalt in

   breaching their fiduciary duties and acting fraudulently by agreeing to the affiliation of the Ritz-

   Carlton Club, Aspen Highlands and Plaintiffs’ and Ritz Carlton Aspen Owners’ Fractional Units

   with the Marriott Vacation Club, in violation of promises made by Defendants both in April

   2013, in the Affiliation Agreement, and in the Declaration of Condominium at Aspen Highlands.

          108.    All Defendants agreed on an object to be accomplished – the affiliation of the

   Ritz-Carlton Club, Aspen Highlands and Plaintiffs’ and Ritz Carlton Aspen Owners’ Fractional

   Units with the Marriott Vacation Club. There was a meeting of the minds among all Defendants

   on that object. The Defendants, working together, accomplished the unlawful overt act of aiding

   and abetting the Association, RC Management, and/or Cobalt in breaching their fiduciary duties

   and by acting fraudulently by participating in said affiliation, in violation of promises made by

   Defendants in April 2013, the Affiliation Agreement, and the Declaration of Condominium at

   Aspen Highlands.

          109. As a proximate result, Plaintiffs suffered damages, including the destruction of the

   value in their fractional units, in an amount to be proven at trial.



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           110. As a result of Defendants conspiracy to breach of fiduciary duties described herein,

   Defendants profited at Plaintiffs and Ritz Carlton Aspen Owners’ expense. Defendants should be

   ordered to forfeit to Plaintiffs and Ritz Carlton Aspen Owners all profits Defendants received as

   a result of the conduct described herein; and that a constructive trust be imposed upon said

   profits for the benefit of Plaintiffs and.

                                       FIFTH CAUSE OF ACTION
                              (Unjust Enrichment against All Defendants)

           111.    Plaintiffs incorporate by reference the allegations contained in the preceding and

   subsequent paragraphs, as if fully set forth in this cause of action.

           112.    Defendants acted in a wrongful manner, unfairly causing detriment to Plaintiffs

   and Ritz Carlton Aspen Owners.

           113. Defendants, and each of them, conspired with and aided and abetted each other in

   achieving a unilaterally imposed affiliation with the Marriott Vacations Club, in order to rid

   themselves of a poor financial investment with the Ritz-Carlton Club, to increase the

   attractiveness, value and price of MVC timeshares sold by the MVW and MVCI through the

   affiliation with the Ritz Carton Club Aspen Highlands, as well as to increase exchange fees

   payable to Cobalt and L & C, despite knowing that such an affiliation would devalue Plaintiffs’

   Fractional Units, while at the same time making Marriott Vacation Club Destinations more

   attractive, valuable and expensive, all to the unjust enrichment of Defendants, including but not

   limited to MVW, MVCI, Cobalt and L & C.

           114. Under these circumstances, it would be unjust for Defendants to retain the benefit

   and ill-gotten profits they made without commensurate compensation to Plaintiffs and Ritz

   Carlton Aspen Owners. As such, Plaintiffs request that the Court impose a constructive trust for

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   the benefit of Plaintiffs, on all profits Defendants received as a result of the conduct described

   herein.

                                           RESERVATION OF RIGHTS

             115.    Plaintiffs expressly reserve all rights accorded under Colorado law, including but

   not limited to the right to amend this pleading as may be necessary in light of new or additional

   factual information gathered throughout the disclosure and discovery phases of this litigation and

   the right to plead exemplary damages in accordance with C.R.S. § 13-21.102.

                                                 JURY DEMAND

             Plaintiffs demand a trial by jury for all issues so triable.

                                              PRAYER FOR RELIEF

             WHEREFORE, Plaintiffs pray for relief as follows:

             a.      That Plaintiffs recover damages, as provided by law, determined to have been

                     sustained as to each of them;

             b.      That Defendants RC Management, Cobalt and L & C forfeit and repay to

                     Plaintiffs all compensation paid to them by Plaintiffs;

             c.      That Defendants forfeit to Plaintiffs all profits Defendants received as a result of

                     the conduct described herein; and that a constructive trust be imposed upon said

                     profits for the benefit of Plaintiffs;

             d.      That Plaintiffs receive pre-judgment and post-judgment interest as allowed by

                     law;

             e.      That Plaintiffs recover their costs of the suit, and attorneys’ fees as allowed by

                     law; and


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         f.     For all other relief allowed by law and equity.

         DATED: March 10, 2017

                                                      Respectfully submitted,

   LAW OFFICE OF MICHAEL J. REISER                    THE MATTHEW C. FERGUSON LAW FIRM, P.C.


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   GIBBS LAW GROUP, LLP                               THE MEADE FIRM FIRM, P.C.


   __/s/ Michael Schrag______________________         ___/s/ Tyler Meade_____________________
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                                   CERTIFICATE OF SERVICE

           I, the undersigned, hereby certify that on this 10th day of March, 2017, a true and accurate
   copy of the foregoing FOURTH AMENDED COMPLAINT AND JURY DEMAND was
   filed and served via CM/ECF filing system upon following:

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